          Case 21-19749-JKS                       Doc 1      Filed 12/21/21 Entered 12/21/21 06:51:07                              Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  New Jersey
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Technology Keiretsu, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  360        Mt. Kemble Avenue
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Morristown                   NJ         07960
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Morris
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      tenfour.com; redforgeco.com; allianttech.com; amsdesk.com; icscabling.com
                                              ____________________________________________________________________________________________________




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Debtor        _______________________________________________________
               Technology Keiretsu, LLC                                                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                              
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor           Technology Keiretsu, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
                                           Yes.            See "Rider 1"
                                                    Debtor _____________________________________________               Affiliates
                                                                                                         Relationship _________________________
       business partner or an
       affiliate of the debtor?                               New Jersey
                                                    District _____________________________________________ When                See "Rider 1"
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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                                           RIDER 1
       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a

petition in the United States Bankruptcy Court for the District of New Jersey for relief under

chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

       x      Technology Keiretsu, LLC
       x      Alliant Technologies, L.L.C. (d/b/a TenFour)
       x      AlliantWare, L.L.C.
       x      Red FoUJe LLC
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                  UNANIMOUS CONSENT AND RESOLUTION
        OF THE BOARD OF DIRECTORS OF TECHNOLOGY KEIRETSU, LLC

        The undersigned, being all of the members of the board of directors (the “Board”) of
Technology Keiretsu, LLC, a New Jersey limited liability company (the “Company”), hereby
adopt the following resolutions by unanimous written consent in lieu of a meeting pursuant to
Article VII, Section 7.3.5 of the Operating Agreement of the Company, and Section 42:2C-37(d)
of the New Jersey Revised Limited Liability Company Act, such consent to have the same force
and effect as a unanimous vote of the directors at a special meeting of the entire Board, duly called
and held for the purpose of acting upon proposals to adopt such resolutions:

        WHEREAS, the Company with the assistance of its financial and legal advisors, has been
conducting a review to consider and evaluate various strategic and financial alternatives, including
but not limited to, the sale or divestiture of all or substantially all of the Company’s assets, a filing
of petitions by the Company and certain of its affiliates to be effectuated under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), other restructuring
transactions or transactions otherwise designed to address the Company’s liquidity constraints that
may be available to the Company and its affiliates (each such strategic alternative, a
“Transaction”); and

        WHEREAS, the Board of the Company has met on numerous occasions to review and has
had the opportunity to ask questions and receive answers about and to discuss the materials
presented by senior management of the Company and the Company’s legal, financial and other
advisors regarding the liabilities and liquidity of the Company, the various potential Transactions
and the impact of the foregoing on the Company, its creditors, shareholders and other interested
parties and its business; and

       WHEREAS, in the judgment of the Board, it is desirable and in the best interests of the
Company, its creditors, shareholders and other interested parties, for the Company to file a
voluntary petition for relief under chapter 11 of the Bankruptcy Code.

Bankruptcy Resolutions

         NOW, THEREFORE, BE IT RESOLVED, that the Company is hereby authorized to
file or cause to be filed the voluntary petition for relief (such voluntary petition, and the voluntary
petitions to be filed by the Company’s affiliates, collectively, the “Chapter 11 Cases”) under the
provisions of chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the District of New
Jersey (the “Bankruptcy Court”); and it is

       FURTHER RESOLVED, that the executive officers of the Company (the “Designated
Officers”) are each hereby severally authorized, directed and empowered, on behalf of and in the
name of the Company, to engage and continue to retain the law firm of Faegre Drinker Biddle &
Reath LLP as restructuring and general bankruptcy counsel to the Company to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights, including the preparation of pleadings and filings in the
Chapter 11 Cases, and in connection therewith, the Designated Officers are hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
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immediately upon the filing of the Chapter 11 Cases, and to cause to be filed appropriate
applications for authority to retain the services of Faegre Drinker Biddle & Reath LLP; and it is

       FURTHER RESOLVED, that the Designated Officers are each hereby authorized and
directed to employ accountants, financial advisors, and any other individual and/or firm as
professionals or consultants to the Company as are necessary to represent and assist the Company
in carrying out its duties under the Bankruptcy Code, including (a) Stout Risius Ross, LLC, as
investment banker to the Company, (b) Eisner Advisory Group LLC, as restructuring and financial
advisors to the Company, and (c) Donlin, Recano & Company, Inc., as claims and noticing agent
and administrative advisor, and (d) such additional professionals, including attorneys, accountants,
financial advisors, consultants, or brokers as may be necessary or desirable in connection with the
Chapter 11 Cases and in connection therewith, each Designated Officer is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Cases, and to cause to be filed an appropriate
application for authority to retain the services of such individuals and/or firms.

Asset Purchase Agreement Resolutions

        FURTHER RESOLVED, the Board has determined that is advisable and in the best
interests of the Company to enter into that certain Asset Purchase Agreement in the form of the
draft dated December 17, 2021 (the “Purchase Agreement”) by and among (a) Alliant
Technologies, L.L.C., a New Jersey limited liability company, AlliantWare, L.L.C., a New Jersey
limited liability company, Red Forge LLC, a New Jersey limited liability company (each, a
“Seller,” and collectively, the “Sellers”), and Acuative Corporation, a New Jersey corporation, or
its assignee pursuant to Section 10.4 of the Purchase Agreement (the “Buyer”), whereby Buyer
intends to acquire, directly or indirectly (including through one or more affiliates of Buyer), from
Sellers, the assets of the Sellers as described more fully in the Purchase Agreement (the “Purchased
Assets”), and Sellers desire to sell, assign, transfer and convey and deliver the Purchased Assets
to Buyer (the “Sale Transaction”) on the terms and subject to the conditions set forth in the
Purchase Agreement; and the Purchase Agreement in the form of the draft dated December 17,
2021, including all exhibits and schedules, is hereby adopted and approved, and the transactions
contemplated therein are hereby approved, and the execution and delivery of the Purchase
Agreement in the form of the draft dated December 17, 2021 by any Designated Officer in the
name of and on behalf of the Company is hereby authorized and approved, with such changes as
the Designated Officer or Designated Officers executing the same shall approve, the execution of
such agreement by any such officer to be conclusive evidence of such approval; and it is

        FURTHER RESOLVED, that each Designated Officer is hereby authorized, directed and
empowered, on behalf of and in the name of the Company (i) to execute, deliver and undertake
any and all transactions contemplated by the Purchase Agreement, (ii) to take all such further
actions including, without limitation, to pay all fees and expenses, in accordance with the terms of
the Purchase Agreement and the restructuring transactions contemplated therein, which any such
officer determines, in his or her discretion, to be necessary, proper or advisable to perform any
obligations of the Company under or in connection with the Purchase Agreement and the
transactions contemplated therein, and (iii) to amend, extend, supplement or otherwise modify the
Purchase Agreement or any documents, certificates, instruments, agreements, or other writings
required by, related to, or reasonably contemplated or implied by the Purchase Agreement.


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General

        NOW, THEREFORE, BE IT RESOLVED, that the Designated Officers of the Company
are hereby each severally authorized and empowered in the name of and on behalf of the Company
to perform any and all acts as may be necessary or desirable to carry out the purposes of these
resolutions and to complete the transactions contemplated in the agreements and instruments
referred to in the foregoing resolutions, and to execute, file, and deliver all instruments and other
documents as any such officer may deem necessary or desirable to carry out the purposes and
intent of the agreements and instruments referred to in the foregoing resolutions; and the execution
by any such officer of any such act in connection with the foregoing matters shall conclusively
establish such officer’s authority therefor from the Company and the approval, ratification, and
adoption by the Company of the documents so executed and the actions so taken; and it is

        FURTHER RESOLVED, that the Designated Officers are hereby each severally
authorized and empowered in the name of and on behalf of the Company to perform any and all
acts as may be necessary or desirable to undertake, execute, file, implement, and/or deliver the
Chapter 11 Cases, the Purchase Agreement and all other instruments and documents contemplated
by the foregoing resolutions and to take any and all further action which such Designated Officers
may deem necessary or desirable to effectuate any action authorized by these resolutions, and
otherwise to carry out the purposes and intent of the foregoing resolutions, and the execution by
any such officer of any such documents or the performance by any such Designated Officer of any
such act in connection with the foregoing matters shall conclusively establish his or her authority
therefore from the Company and the approval and ratification by the Company of the documents
so executed and the actions so taken; and it is

        FURTHER RESOLVED, that the Designated Officers of the Company are hereby each
severally authorized for and on behalf of the Company to take any and all action necessary,
including the execution of any amendments, documents, instruments or waivers or to obtain any
waivers or amendments of any agreements of the Company required by or under any of the Chapter
11 Cases, the Purchase Agreement or any of the transactions contemplated thereby, and any such
action shall be binding on the Company without further authorization; and it is

        FURTHER RESOLVED, that all actions and agreements of the directors and officers of
the Company prior to the date hereof consistent with the purposes and intent of the foregoing
resolutions be, and they hereby are, approved, ratified and adopted in all respects as the acts and
agreements of the Company.




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      IN WITNESS WHEREOF, the undersigned, being all the members of the Board, have
executed this unanimous consent and resolution on this 1th day of December, 2021.


                                                  ________________________
                                                  Mark P. Cantaluppi


                                                  ______________
                                                            _
                                                  ________________________
                                                  Brian Kim


                                                  ________________________
                                                  Michael Guilfoile


                                                  ________________________
                                                  Brian Hughes




               [Signature Page to Technology Keiretsu, LLC Resolutions]
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                           SCHEDULE 1 TO OFFICIAL FORM 202
                             TECHNOLOGY KEIRETSU, LLC

        The Chief Executive Officer of the above-captioned Debtor has examined the information

in the following documents and reasonably believes the information therein is true and correct:


             x   Corporate Ownership Statement
             x   Consolidated Balance Sheet
             x   Consolidated Statement of Cash Flows
             x   Consolidated Statement of Operations
             x   Federal Income Tax Return




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            Case 21-19749-JKS                  Doc 1         Filed 12/21/21 Entered 12/21/21 06:51:07                          Desc Main
                                                            Document     Page 17 of 180
'HEWRU    $OOLDQW 7HFKQRORJLHV //& GED 7HQ)RXU  HW DO                                                        &DVH QXPEHU LI NQRZQ BBBBB

    1DPH RI FUHGLWRU DQG             1DPH WHOHSKRQH QXPEHU DQG       1DWXUH RI WKH       ,QGLFDWH LI   $PRXQW RI XQVHFXUHG FODLP
    FRPSOHWH PDLOLQJ DGGUHVV        HPDLO DGGUHVV RI FUHGLWRU FRQWDFW FODLP               FODLP LV      ,I WKH FODLP LV IXOO\ XQVHFXUHG ILOO LQ RQO\ XQVHFXUHG
    LQFOXGLQJ ]LS FRGH                                                  IRU H[DPSOH       FRQWLQJHQW   FODLP DPRXQW ,I FODLP LV SDUWLDOO\ VHFXUHG ILOO LQ
                                                                       WUDGH GHEWV        XQOLTXL      WRWDO FODLP DPRXQW DQG GHGXFWLRQ IRU YDOXH RI
                                                                       EDQN ORDQV         GDWHG RU     FROODWHUDO RU VHWRII WR FDOFXODWH XQVHFXUHG FODLP
                                                                       SURIHVVLRQDO        GLVSXWHG
                                                                       VHUYLFHV DQG                     7RWDO FODLP     'HGXFWLRQ IRU      8QVHFXUHG
                                                                       JRYHUQPHQW                        LI SDUWLDOO\     YDOXH RI           FODLP
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              Case 21-19749-JKS                  Doc 1        Filed 12/21/21 Entered 12/21/21 06:51:07                              Desc Main
                                                             Document     Page 18 of 180
'HEWRU      $OOLDQW 7HFKQRORJLHV //& GED 7HQ)RXU  HW DO                                                           &DVH QXPEHU LI NQRZQ BBBBB

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       LQFOXGLQJ ]LS FRGH                                                 IRU H[DPSOH          FRQWLQJHQW   FODLP DPRXQW ,I FODLP LV SDUWLDOO\ VHFXUHG ILOO LQ
                                                                         WUDGH GHEWV           XQOLTXL      WRWDO FODLP DPRXQW DQG GHGXFWLRQ IRU YDOXH RI
                                                                         EDQN ORDQV            GDWHG RU     FROODWHUDO RU VHWRII WR FDOFXODWH XQVHFXUHG FODLP
                                                                         SURIHVVLRQDO           GLVSXWHG
                                                                         VHUYLFHV DQG                        7RWDO FODLP     'HGXFWLRQ IRU      8QVHFXUHG
                                                                         JRYHUQPHQW                           LI SDUWLDOO\     YDOXH RI           FODLP
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Case 21-19749-JKS         Doc 1    Filed 12/21/21 Entered 12/21/21 06:51:07               Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

 FAEGRE DRINKER BIDDLE & REATH LLP
 A Delaware Limited Liability Partnership
 600 Campus Drive
 Florham Park, New Jersey 07932-1047
 (973) 549-7000 (Telephone)
 (973) 360-9831 (Facsimile)
 Michael P. Pompeo
 Marita S. Erbeck
 Proposed Counsel to the Debtors and Debtors in
 Possession



 In re:                                               Chapter 11


 TECHNOLOGY KEIRETSU, LLC                             Case No. 21-_____ (___)
                                   Debtor.




                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above captioned debtor (the “Debtor”) certifies that no corporation, either directly or indirectly,

owns 10% or more of any class of the Debtor’s equity interests.
TECHNOLOGY KEIRETSU, LLC AND SUBSIDIARIES
Consolidated Balance Sheets

ASSETS                                                                              TenFour           Red Forge          TK                                  TenFour          Red Forge           TK
                                                                                   Oct 31, 2021      Oct 31, 2021    Oct 31, 2021          Oct 31, 2021    Sept 30, 2021     Sept 30, 2021   Sept 30, 2021         Sept 30, 2021         Dec 31, 2020
CURRENT ASSETS
 Cash                                                                              $    2,134,000                                      $       2,134,000   $    2,460,000                                      $        2,460,000    $       1,932,000
 Accounts receivable, net of allowance for doubtful accounts                            3,109,000                                              3,109,000        2,671,000                                               2,671,000            3,729,000
 Inventories                                                                              108,000                                                108,000          169,000                                                 169,000              182,000
 Employee advances                                                                          8,000                                                  8,000           11,000                                                  11,000               21,000
 Other current assets                                                                     731,000                           15,000               746,000          721,000                           20,000                741,000              638,000
 Due from Parent                                                                         (469,000)                         469,000                   -           (608,000)                         608,000                    -                    -
            Total current assets                                                        5,621,000              -           484,000             6,105,000        5,424,000              -           628,000              6,052,000            6,502,000
                                                                                                                                                                                                                                                                              Case 21-19749-JKS




Property and equipment, net of accumulated depreciation                                 3,222,000        9,854,000                            13,076,000        3,211,000        9,802,000                             13,013,000           13,184,000
CIT financed asset, net of accumulated depreciation                                     2,243,000                                              2,243,000        2,274,000                                               2,274,000            2,691,000
             Total property and equipment, net                                          5,465,000        9,854,000              -             15,319,000        5,485,000        9,802,000              -              15,287,000           15,875,000

OTHER ASSETS
 Other assets                                                                            259,000           21,000                                280,000         271,000            21,000                               292,000               187,000
                                                                                                                                                                                                                                                                              Doc 1




 Security deposits                                                                        57,000                                                  57,000          57,000                                                  57,000                57,000
 CIT prepaid assets                                                                       52,000                                                  52,000          45,000                                                  45,000               160,000
            Total other assets                                                           368,000           21,000               -                389,000         373,000            21,000              -                394,000               404,000

             Total assets                                                          $   11,454,000    $   9,875,000   $     484,000     $      21,813,000   $   11,282,000    $   9,823,000   $     628,000     $       21,733,000    $      22,781,000

LIABILITIES AND MEMBERS’ EQUITY
                                                                                                                                                                                                                                                         Document




CURRENT LIABILITIES
 Obligations under capital leases and financing agreements, current portion        $    1,689,000                                      $       1,689,000   $    1,705,000                                      $        1,705,000    $       1,654,000
 Accounts payable                                                                       1,732,000                                              1,732,000          967,000                                                 967,000            2,820,000
 Accrued expenses                                                                       1,886,000                          619,000             2,505,000        1,790,000                          559,000              2,349,000            1,672,000
 Deferred revenue                                                                         491,000                                                491,000          622,000                                                 622,000              357,000
 CIT financing obligation, current portion                                              1,560,000                                              1,560,000        1,597,000                                               1,597,000            1,939,000
 Loan payable to SBA                                                                          -                                                      -          1,822,000                                               1,822,000            1,822,000
 Line of credit - bank                                                                  2,500,000                                              2,500,000        2,500,000                                               2,500,000            2,650,000
            Total current liabilities                                                   9,858,000              -           619,000            10,477,000       11,003,000              -           559,000             11,562,000           12,914,000

LONG-TERM LIABILITIES
                                                                                                                                                                                                                                                                      Page 20 of 180




  Obligations under capital leases and financing agreements, net of current port        1,130,000                                              1,130,000        1,190,000                                               1,190,000            1,689,000
  CIT financing obligation, net of current portion                                      2,290,000                                              2,290,000        2,410,000                                               2,410,000            2,840,000
  Lease incentive liability                                                                97,000                                                 97,000          103,000                                                 103,000              158,000
  Deferred rent                                                                           316,000                                                316,000          321,000                                                 321,000              353,000
  Convertible notes payable                                                                                              6,000,000             6,000,000                                         6,000,000              6,000,000            4,000,000
             Total long-term liabilities                                                3,833,000              -         6,000,000             9,833,000        4,024,000              -         6,000,000             10,024,000            9,040,000

Members’ equity                                                                        (2,237,000)       9,875,000       (6,135,000)           1,503,000       (3,745,000)       9,823,000       (5,931,000)             147,000               827,000

             Total liabilities and members’ equity                                 $   11,454,000    $   9,875,000   $     484,000     $      21,813,000   $   11,282,000    $   9,823,000   $     628,000     $       21,733,000    $      22,781,000
                                                                                                                                                                                                                                                          Filed 12/21/21 Entered 12/21/21 06:51:07
                                                                                                                                                                                                                                                                              Desc Main




                                                                                                                               DRAFT                                                                                                UNAUDITED
TECHNOLOGY KEIRETSU, LLC AND SUBSIDIARIES
Consolidated Statements of Cash Flows



                                                                                   TenFour           Red Forge          TK                                  TenFour           Red Forge       TK
                                                                                  Ten Months        Ten Months      Ten Months            Ten Months         Month             Month        Month                 Month
                                                                                    Ended             Ended           Ended                 Ended            Ended             Ended        Ended                 Ended
                                                                                  Oct 31, 2021      Oct 31, 2021    Oct 31, 2021          Oct 31, 2021     Oct 31, 2021      Oct 31, 2021 Oct 31, 2021          Oct 31, 2021
CASH FLOWS FROM OPERATING ACTIVITIES
 Net (loss)                                                                       $   1,970,000     $   (737,000) $      (557,000)    $         676,000    $   1,508,000     $   (87,000) $      (65,000)   $       1,356,000
 Adjustments to reconcile net income to net cash (used in) operating activities
  Depreciation expense                                                                 2,406,000                                              2,406,000           225,000            -               -                225,000
  Foregiveness of SBA loan                                                            (3,629,000)                                            (3,629,000)       (1,822,000)           -               -             (1,822,000)
  Deferred revenue                                                                       134,000                                                134,000          (131,000)           -               -               (131,000)
  Deferred rent                                                                          (37,000)                                               (37,000)           (5,000)           -               -                 (5,000)
  Change in operating assets and liabilities
                                                                                                                                                                                                                                                      Case 21-19749-JKS




     Accounts receivable                                                                 620,000                                                620,000         (438,000)            -              -                (438,000)
     Inventories                                                                          74,000                                                 74,000           61,000             -              -                  61,000
     Employee advances                                                                    13,000                                                 13,000            3,000             -              -                   3,000
     Other current assets                                                                673,000                           38,000               711,000          (10,000)            -            5,000                (5,000)
     Other assets                                                                        (98,000)                          10,000               (88,000)          12,000             -              -                  12,000
                                                                                                                                                                                                                                                      Doc 1




     CIT prepaid assets                                                                  108,000                                                108,000           (7,000)            -              -                  (7,000)
     Accounts payable                                                                 (1,088,000)                                            (1,088,000)         765,000             -              -                 765,000
     Accrued expenses                                                                    324,000                          509,000               833,000           96,000             -           60,000               156,000
     Lease incentive liabilty                                                            (61,000)                                               (61,000)          (6,000)            -              -                  (6,000)
            Net cash provided by (used in) operating activities                        1,409,000        (737,000)              -                672,000          251,000         (87,000)           -                 164,000
                                                                                                                                                                                                                                 Document




CASH FLOWS FROM INVESTING ACTIVITIES
 Purchase of CIT financed assets                                                       (685,000)                                               (685,000)         (69,000)            -               -                (69,000)
 Purchases of property and equipment                                                    (10,000)        (492,000)                              (502,000)          (8,000)        (52,000)            -                (60,000)
           Net cash (used in) investing activities                                     (695,000)        (492,000)              -             (1,187,000)         (77,000)        (52,000)            -               (129,000)

CASH FLOWS FROM FINANCING ACTIVITIES
 Payments of capital lease and financing agreement obligations                        (2,026,000)                                            (2,026,000)        (204,000)            -               -               (204,000)
 Proceeds of CIT financings                                                              906,000                                                906,000              -               -               -                    -
 Payments of CIT financing obligations                                                (1,835,000)                                            (1,835,000)        (157,000)            -               -               (157,000)
 Proceeds (repayments) of line of credit, net                                           (150,000)                                              (150,000)             -               -               -                    -
 Proceeds from SBA loan                                                                1,822,000                                              1,822,000              -               -               -                    -
                                                                                                                                                                                                                                              Page 21 of 180




 Intercompany equity contributions                                                                      1,229,000       (1,229,000)                 -                -           139,000        (139,000)                 -
 Proceeds (payments) of advances from Parent                                            771,000                           (771,000)                 -           (139,000)            -           139,000                  -
 Proceeds of convertible notes payable                                                                                   2,000,000            2,000,000              -               -               -                    -
            Net cash provided by (used in) financing activities                        (512,000)        1,229,000              -                717,000         (500,000)        139,000             -               (361,000)

             Net increase (decrease) in cash                                            202,000               -                -                202,000         (326,000)            -               -               (326,000)

Cash - beginning of period                                                            1,932,000               -                -              1,932,000        2,460,000             -               -              2,460,000

Cash - end of period                                                              $   2,134,000     $         -     $          -      $       2,134,000    $   2,134,000     $       -      $        -      $       2,134,000
                                                                                                                                                                                                                                  Filed 12/21/21 Entered 12/21/21 06:51:07




Supplemental disclosures of cash flow information:
  Cash paid for interest                                                          $     490,000     $         -                       $         490,000    $      44,000     $       -      $        -      $          44,000

Supplemental disclosures of non-cash investing and financing activities:
  Computer equipment, software and vehicle purchases financed by
    capital leases and finance agreements                                         $     663,000                                       $         663,000    $     128,000     $       -      $        -      $         128,000
  Other current asset purchases financed by finance agreements                    $     839,000                                       $         839,000    $         -       $       -      $        -      $             -
                                                                                                                                                                                                                                                      Desc Main




  Retirements of fully depreciated property and equipment                         $      22,000                                       $          22,000    $         -       $       -      $        -      $             -




                                                                                                                  DRAFT                                                                                     UNAUDITED
TECHNOLOGY KEIRETSU, LLC AND SUBSIDIARIES
Consolidated Statements of Operations and Members' Equity



                                             TenFour          Red Forge          TK             Elim/Adj                              TenFour           Red Forge               TK           Elim/Adj
                                            Ten Months       Ten Months      Ten Months        Ten Months           Ten Months         Month             Month                Month           Month               Month
                                              Ended            Ended           Ended             Ended                Ended            Ended             Ended                Ended           Ended               Ended
                                            Oct 31, 2021     Oct 31, 2021    Oct 31, 2021      Oct 31, 2021         Oct 31, 2021     Oct 31, 2021      Oct 31, 2021         Oct 31, 2021    Oct 31, 2021        Oct 31, 2021
REVENUES
  Service revenues                      $     17,214,000                                                        $      17,214,000    $   1,760,000     $        -       `                   $        -      $       1,760,000
  Product sales                                  625,000                                                                  625,000           11,000              -                    -               -                 11,000
                                                                                                                                                                                                                                                      Case 21-19749-JKS




  Service revenues - affiliates                1,291,000           62,000                        (1,353,000)                  -            145,000            6,000                  -          (151,000)                 -
             Total revenues                   19,130,000           62,000               -        (1,353,000)           17,839,000        1,916,000            6,000                  -          (151,000)           1,771,000

  Cost of revenues                            12,229,000                                         (1,291,000)           10,938,000        1,209,000              -                    -          (145,000)           1,064,000
  Operating expenses                           6,710,000          799,000                           (62,000)            7,447,000          752,000           93,000                  -            (6,000)             839,000
                                                                                                                                                                                                                                                      Doc 1




  Depreciation expenses                        2,406,000                                                                2,406,000          225,000              -                    -               -                225,000

              (Loss) from operations           (2,215,000)       (737,000)              -               -              (2,952,000)        (270,000)          (87,000)                -               -               (357,000)

OTHER INCOME (EXPENSE)
  Interest income                                  3,000                                                                    3,000              -                 -                   -               -                    -
                                                                                                                                                                                                                                 Document




  Interest expense                              (497,000)                         (557,000)                            (1,054,000)         (44,000)              -               (65,000)            -               (109,000)
  Foregiveness of SBA loan                     3,629,000                                                                3,629,000        1,822,000               -                   -               -              1,822,000
  Employee retention credits                   1,047,000                                                                1,047,000              -                 -                   -               -                    -
  Gain on sale of assets                           3,000                                                                    3,000              -                 -                   -               -                    -
              Total other income               4,185,000              -           (557,000)             -               3,628,000        1,778,000               -               (65,000)            -              1,713,000

              Net (loss)                       1,970,000         (737,000)        (557,000)             -                 676,000        1,508,000           (87,000)            (65,000)            -              1,356,000

Intercompany equity contribution                                1,229,000        (1,229,000)                                  -                 -           139,000             (139,000)            -                    -

Members’ equity - beginning of period          (4,207,000)      9,383,000        (4,349,000)            -                 827,000        (3,745,000)       9,823,000          (5,931,000)            -                147,000
                                                                                                                                                                                                                                              Page 22 of 180




Members’ equity - end of period         $      (2,237,000) $    9,875,000    $   (6,135,000) $          -       $       1,503,000    $   (2,237,000) $     9,875,000    $     (6,135,000) $          -      $       1,503,000
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                                                 /2      R_vcq_lbjgaclqcq ||||||||||||||||||||||||||||||||||||||||||||                                                                                    /2
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                                                 /5 Bcnjcrgml&Bmlmrbcbsarmgj_lbe_qbcnjcrgml,' |||||||||||||||||||||||||||||                                                                          /5
                                                 /6      Pcrgpckclrnj_lq*cra, |||||||||||||||||||||||||||||||||||||||||||                                                                                 /6
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                                                 00      Mpbgl_pw`sqglcqqglamkc&jmqq', Qs`rp_arjglc0/dpmkjglc6 }}}}}}}}}}}}}}}}}}}}}}}                                                             00           +1*45/*543,
                                                 01      Glrcpcqrbscslbcprfcjmmi+`_aikcrfmb+amknjcrcbjmle+rcpkamlrp_arq&_rr_afDmpk6475' ||||||||                                                  01
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                                                 07      ?kmslrmucb, Gdjglc06gqqk_jjcprf_ljglc05*clrcp_kmslrmucb ||||||||||||||||||||                                                           07
                                                 1.      Mtcpn_wkclr, Gdjglc06gqj_pecprf_ljglc05*clrcpmtcpn_wkclr }}}}}}}}}}}}}}}}}}}}}                                                           1.
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                                                             _lb`cjgcd*grgqrpsc*amppcar*_lbamknjcrc,Bcaj_p_rgmlmdnpcn_pcp&mrfcprf_ln_prlcpmpjgkgrcbjg_`gjgrwamkn_lwkck`cp'gq`_qcbml_jjgldmpk_rgmlmd
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          a      Bmkcqrgajgkgrcbjg_`gjgrwamkn_lw                       b Bmkcqrgajgkgrcbjg_`gjgrwn_prlcpqfgn
          c      Dmpcgeln_prlcpqfgn                                      d  Mrfcpz
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          _   Bgb_lwdmpcgelmpbmkcqrgaampnmp_rgml*n_prlcpqfgn&glajsbgle_lwclrgrwrpc_rcb_q_n_prlcpqfgn'*rpsqr*mpr_v+
              cvcknrmpe_lgx_rgml*mp_lwdmpcgelemtcplkclrmul*bgpcarjwmpglbgpcarjw*_lglrcpcqrmd3.#mpkmpcglrfcnpmdgr*
              jmqq*mpa_ngr_jmdrfcn_prlcpqfgn=Dmppsjcqmdamlqrpsargtcmulcpqfgn*qccglqrpsargmlq,Gd Wcq* _rr_afQafcbsjc
              @+/*Gldmpk_rgmlmlN_prlcpqMulgle3.#mpKmpcmdrfcN_prlcpqfgn           |||||||||||||||||||||||||||||                                             V
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              rfcn_prlcpqfgn=Dmppsjcqmdamlqrpsargtcmulcpqfgn*qccglqrpsargmlq,Gd Wcq* _rr_afQafcbsjc@+/*Gldmpk_rgml
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      1       ?rrfcclbmdrfcr_vwc_p*bgbrfcn_prlcpqfgn8
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              qrmaiclrgrjcbrmtmrcmd_lwdmpcgelmpbmkcqrgaampnmp_rgml=Dmppsjcqmdamlqrpsargtcmulcpqfgn*qccglqrpsargmlq,
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          `   Mulbgpcarjw_lglrcpcqrmd0.#mpkmpc*mpmul*bgpcarjwmpglbgpcarjw*_lglrcpcqrmd3.#mpkmpcglrfcnpmdgr*jmqq*
              mpa_ngr_jgl_lwdmpcgelmpbmkcqrgan_prlcpqfgn&glajsbgle_lclrgrwrpc_rcb_q_n_prlcpqfgn'mpglrfc`clcdgag_j
              glrcpcqrmd_rpsqr=Dmppsjcqmdamlqrpsargtcmulcpqfgn*qccglqrpsargmlq,Gd Wcq* amknjcrc&g'rfpmsef&t'`cjmu }}}}}}}}     V
                        &g' L_kcmdClrgrw                        &gg' Cknjmwcp     &ggg' RwncmdClrgrw             &gt'Amslrpwmd     &t' K_vgksk
                                                                 Gbclrgdga_rgmlLsk`cp                                                            Ncpaclr_ecMulcbgl
                                                                          &gd_lw'                                         Mpe_lgx_rgml           Npmdgr*Jmqq*mpA_ngr_j
    ?JJG?LRRCAFLMJMEGCQ*JJA                                00+1475361                  N?PRLCPQFGN                                                   77,77
    PCBDMPECJJA                                            25+1506440                  N?PRLCPQFGN                                                   77,77
    ?JJG?LRU?PC*JJA                                         00+1475367                  N?PRLCPQFGN                                                  /..,..
    GAQA?@JGLEJJA                                          00+1475371                  N?PRLCPQFGN                                                  /..,..
    ?JJG?LR+A?W*JJA                                         04+242106/                  N?PRLCPQFGN                                                  /..,..
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          _   Rfcn_prlcpqfgn%qrmr_jpcacgnrqdmprfcr_vwc_pucpcjcqqrf_l"03.*...,
          `   Rfcn_prlcpqfgn%qrmr_j_qqcrq_rrfcclbmdrfcr_vwc_pucpcjcqqrf_l"/kgjjgml,
          a   QafcbsjcqI+/_pcdgjcbugrfrfcpcrspl_lbdsplgqfcbrmrfcn_prlcpqmlmp`cdmpcrfcbscb_rc&glajsbgle
              cvrclqgmlq'dmprfcn_prlcpqfgnpcrspl,
          b   Rfcn_prlcpqfgngqlmrdgjgle_lbgqlmrpcosgpcbrmdgjcQafcbsjcK+1 ||||||||||||||||||||||||||||||                                                  V
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              mpgrckJmlQafcbsjcI+/,
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      4       Bspglerfcr_vwc_p*bgbrfcn_prlcpqfgnf_tc_lwbc`rrf_ru_qa_lacjcb*u_qdmpegtcl*mpf_brfcrcpkqkmbgdgcb
              qm_qrmpcbsacrfcnpglagn_j_kmslrmdrfcbc`r= }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                                              V
      5       F_qrfgqn_prlcpqfgndgjcb*mpgqgrpcosgpcbrmdgjc*Dmpk67/6*K_rcpg_j?btgqmpBgqajmqspcQr_rckclr*rmnpmtgbc
              gldmpk_rgmlml_lwpcnmpr_`jcrp_lq_argml= }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                                                  V
      6       ?r_lwrgkcbspglea_jclb_pwc_p0.0.*bgbrfcn_prlcpqfgnf_tc_lglrcpcqrglmp_qgel_rspcmpmrfcp_srfmpgrwmtcp
              _dgl_lag_j_aamslrgl_dmpcgelamslrpw&qsaf_q_`_li_aamslr*qcaspgrgcq_aamslr*mpmrfcpdgl_lag_j_aamslr'=
              Qccglqrpsargmlqdmpcvacnrgmlq_lbdgjglepcosgpckclrqdmpDglACLDmpk//2*PcnmprmdDmpcgel@_li_lb
              Dgl_lag_j?aamslrq&D@?P',Gd Wcq* clrcprfcl_kcmdrfcdmpcgelamslrpw z                                                                           V
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              rp_lqdcpmprm*_dmpcgelrpsqr=Gd Wcq* rfcn_prlcpqfgnk_wf_tcrmdgjcDmpk130.*?lls_jPcrsplRmPcnmpr
              Rp_lq_argmlqUgrfDmpcgelRpsqrq_lbPcacgnrmdAcpr_glDmpcgelEgdrq,Qccglqrpsargmlq        }}}}}}}}}}}}}}}}}}}}                                    V
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              Qccglqrpsargmlqdmpbcr_gjqpce_pbgle_qcargml532cjcargml,
          `   Bgbrfcn_prlcpqfgnk_icdmprfgqr_vwc_p_lmnrgml_j`_qgq_bhsqrkclrslbcpqcargml521&`'mp512&`'=Gd Wcq*
              _rr_af_qr_rckclrqfmuglerfcamknsr_rgml_lb_jjma_rgmlmdrfc`_qgq_bhsqrkclr,Qccglqrpsargmlq            }}}}}}}}}}}}}                           V
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                Case 21-19749-JKS                  Doc 1      Filed 12/21/21 Entered 12/21/21 06:51:07                                Desc Main
                                                             Document     Page 25 of 180
    Dmpk/.43&0.0.'        RCAFLMJMEWICGPCRQS*JJA                                                                                00+15.6571        N_ec 1
      Qafcbsjc@            MrfcpGldmpk_rgml "]ihncho_^#
         a   Gqrfcn_prlcpqfgnpcosgpcbrm_bhsqrrfc`_qgqmdn_prlcpqfgn_qqcrqslbcpqcargml521&`'mp512&`'`ca_sqcmd_                   Wcq    Lm
             qs`qr_lrg_j`sgjr+gljmqq&_qbcdglcbslbcpqcargml521&b''mpqs`qr_lrg_j`_qgqpcbsargml&_qbcdglcbslbcpqcargml
             512&b''=Gd Wcq* _rr_af_qr_rckclrqfmuglerfcamknsr_rgml_lb_jjma_rgmlmdrfc`_qgq_bhsqrkclr,Qccglqrpsargmlq     }}}}             V
    //       Afcairfgq`mvgd*bspglerfcasppclrmpnpgmpr_vwc_p*rfcn_prlcpqfgnbgqrpg`srcb_lwnpmncprwpcacgtcbgl_
             jgic+iglbcvaf_lecmpamlrpg`srcbqsafnpmncprwrm_lmrfcpclrgrw&mrfcprf_lbgqpce_pbcbclrgrgcqufmjjw
             mulcb`wrfcn_prlcpqfgnrfpmsefmsrrfcr_vwc_p'      }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} z                                  
    /0       ?r_lwrgkcbspglerfcr_vwc_p*bgbrfcn_prlcpqfgnbgqrpg`srcrm_lwn_prlcp_rcl_law+gl+amkkmlmpmrfcp
             slbgtgbcbglrcpcqrgln_prlcpqfgnnpmncprw= }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                                      V
    /1       Gdrfcn_prlcpqfgngqpcosgpcbrmdgjcDmpk6636*Gldmpk_rgmlPcrsplmdS,Q,NcpqmlqUgrfPcqncarRmDmpcgel
             Bgqpce_pbcbClrgrgcq&DBCq'_lbDmpcgel@p_lafcq&D@q'*clrcprfclsk`cpmdDmpkq6636_rr_afcb,Qcc
             glqrpsargmlq    }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                             z
    /2       Bmcqrfcn_prlcpqfgnf_tc_lwdmpcgeln_prlcpq=Gd Wcq* clrcprfclsk`cpmdDmpkq66.3*DmpcgelN_prlcp%q
             Gldmpk_rgmlQr_rckclrmdQcargml/224UgrffmjbgleR_v*dgjcbdmprfgqn_prlcpqfgn      }}}}}} z                                             V
    /3       Clrcprfclsk`cpmdDmpkq6643*PcrsplmdS,Q,NcpqmlqUgrfPcqncarrmAcpr_glDmpcgelN_prlcpqfgnq*_rr_afcb
             rmrfgqpcrspl }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                             z
    /4 _     Bgbwmsk_ic_lwn_wkclrqgl0.0.rf_rumsjbpcosgpcwmsrmdgjcDmpk&q'/.77=Qccglqrpsargmlq |||||||||||||||                             V
         `   Gd Wcq* bgbwmsmpugjjwmsdgjcpcosgpcbDmpk&q'/.77=   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
    /5       Clrcprfclsk`cpmdDmpkq325/*Gldmpk_rgmlPcrsplmdS,Q,NcpqmlqUgrfPcqncarRmAcpr_glDmpcgel
             Ampnmp_rgmlq*_rr_afcbrmrfgqpcrspl }}}}}}}}}}}}}}}}}}}}}}}}}}}} z
    /6       Clrcprfclsk`cpmdn_prlcpqrf_r_pcdmpcgelemtcplkclrqslbcpqcargml670 }}}}}}}} z
    /7       Bspglerfcn_prlcpqfgn%qr_vwc_p*bgbrfcn_prlcpqfgnk_ic_lwn_wkclrqrf_rumsjbpcosgpcgrrmdgjcDmpk/.20
             _lb/.20+Qslbcpaf_nrcp1&qcargmlq/22/rfpmsef/242'mpaf_nrcp2&qcargmlq/25/rfpmsef/252'= }}}}}}}}}}}}}                            V
    0.       U_qrfcn_prlcpqfgn_qncagdgcbbmkcqrgaclrgrwpcosgpcbrmdgjcDmpk6716dmprfcr_vwc_p=QccrfcGlqrpsargmlqdmpDmpk6716 }           V
    0/       Gqrfcn_prlcpqfgn_qcargml50/&a'n_prlcpqfgn*_qbcdglcbglPcesj_rgmlqqcargml/,50/&a'+/&`'&/2'=     }}}}}}}}}}}}}}                    V
    00       Bspglerfcr_vwc_p*bgbrfcn_prlcpqfgnn_wmp_aapsc_lwglrcpcqrmppmw_jrwdmpufgafmlcmpkmpcn_prlcpq_pc
             lmr_jjmucb_bcbsargmlslbcpqcargml045?=Qccglqrpsargmlq        ||||||||||||||||||||||||||||||||                                        V
             Gd Wcq* clrcprfcrmr_j_kmslrmdrfcbgq_jjmucbbcbsargmlq     }}}}}}}}}}}}}}} z "
    01       Bgbrfcn_prlcpqfgnf_tc_lcjcargmlslbcpqcargml/41&h'dmp_lwpc_jnpmncprwrp_bcmp`sqglcqqmp_lwd_pkgle
             `sqglcqqglcddcarbspglerfcr_vwc_p=Qccglqrpsargmlq }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                               V
    02       Bmcqrfcn_prlcpqfgnq_rgqdwmlcmpkmpcmdrfcdmjjmugle=Qccglqrpsargmlq ||||||||||||||||||||||||||                               V
         _   Rfcn_prlcpqfgnmulq_n_qq+rfpmsefclrgrwugrfasppclr*mpnpgmpwc_pa_ppwmtcp*cvacqq`sqglcqqglrcpcqrcvnclqc,
         `   Rfcn_prlcpqfgn%q_eepce_rc_tcp_ec_lls_jepmqqpcacgnrq&bcrcpkglcbslbcpqcargml226&a''dmprfc1r_vwc_pq
             npcacbglerfcasppclrr_vwc_p_pckmpcrf_l"04kgjjgml_lbrfcn_prlcpqfgnf_q`sqglcqqglrcpcqr,
         a   Rfcn_prlcpqfgngq_r_vqfcjrcp&qccglqrpsargmlq'_lbrfcn_prlcpqfgnf_q`sqglcqqglrcpcqrcvnclqc,
             Gd Wcq rm_lw*amknjcrc_lb_rr_afDmpk677.,
    03       Gqrfcn_prlcpqfgncjcarglemsrmdrfcaclrp_jgxcbn_prlcpqfgn_sbgrpcegkcslbcpqcargml400/&`'=Qccglqrpsargmlq     |||||||             V
             Gd Wcq* rfcn_prlcpqfgnksqramknjcrcQafcbsjc@+0&Dmpk/.43',Clrcprfcrmr_jdpmkQafcbsjc@+0*N_prGGG*
             jglc1 ||||||||||||||||||||||||||||||||||||||||||||                                                  z
            Gd Lm* amknjcrcBcqgel_rgmlmdN_prlcpqfgnPcnpcqclr_rgtc`cjmu,
    Bcqgel_rgmlmdN_prlcpqfgnPcnpcqclr_rgtc &qccglqrpsargmlq'
    Clrcp`cjmurfcgldmpk_rgmldmprfcn_prlcpqfgnpcnpcqclr_rgtc&NP'dmprfcr_vwc_pamtcpcb`wrfgqpcrspl,
    L_kcmdNP z        RCAFLMJMEWICGPCRQS*JJA
                               14.KR,ICK@JC?TCLSC                                      S,Q,nfmlc
    S,Q,_bbpcqqmdNP
                               KMPPGQRMUL*LH.574.                                       lsk`cpmdNP                    751+045+3014
    GdrfcNPgq_lclrgrw*l_kcmdrfcbcqgel_rcbglbgtgbs_jdmprfcNP z K?PIA?LR?JSNNG
                                                                                                     S,Q,nfmlc
    S,Q,_bbpcqqmd                                                                                  lsk`cpmd
    bcqgel_rcb         14.KR,ICK@JC?TCLSC                                                         bcqgel_rcb
    glbgtgbs_j         KMPPGQRMUL*LH.574.                                                          glbgtgbs_j       751+045+3014
    04       Gqrfcn_prlcpqfgn_rr_afgleDmpk6774rmacprgdw_q_Os_jgdgcbMnnmprslgrwDslb=       ||||||||||||||||||||||                             V
             Gd Wcq* clrcprfc_kmslrdpmkDmpk6774*jglc/4 }}}}}}}}}}}}}}}}}}}}                             z"
    05       Clrcprfclsk`cpmddmpcgeln_prlcpqqs`hcarrmqcargml642&a'&6'_q_pcqsjrmdrp_lqdcppgle_jjmp_nmprgmlmd_l
             glrcpcqrglrfcn_prlcpqfgnmpmdpcacgtgle_bgqrpg`srgmldpmkrfcn_prlcpqfgn }}}}}}}}} z
    06       ?r_lwrgkcbspglerfcr_vwc_p*ucpcrfcpc_lwrp_lqdcpq`crucclrfcn_prlcpqfgn_lbgrqn_prlcpqqs`hcarrmrfc
             bgqajmqspcpcosgpckclrqmdPcesj_rgmlqqcargml/,5.5+6= }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                                 V
    07       QglacBcack`cp00*0./5*bgb_dmpcgelampnmp_rgmlbgpcarjwmpglbgpcarjw_aosgpcqs`qr_lrg_jjw_jjmdrfcnpmncprgcq
             amlqrgrsrgle_rp_bcmp`sqglcqqmdwmspn_prlcpqfgn*_lbu_qrfcmulcpqfgnncpaclr_ec&`wtmrcmpt_jsc'dmp
             nspnmqcqmdqcargml5652epc_rcprf_l3.#&dmpcv_knjc*rfcn_prlcpqfcjbkmpcrf_l3.#mdrfcqrmaimd
             rfcdmpcgelampnmp_rgml'=Gd Wcq* jgqrrfcmulcpqfgnncpaclr_ec`wtmrc_lb`wt_jsc,Qccglqrpsargmlq,
             Ncpaclr_ec8                                                  @wTmrc                              @wT_jsc                                  V
    .//.0/./+.4+0/                                                                                                                       Dmpk /.43 &0.0.'
                                          1
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
                                   Case 21-19749-JKS                   Doc 1        Filed 12/21/21 Entered 12/21/21 06:51:07 Desc Main
    Dmpk/.43&0.0.'                         RCAFLMJMEWICGPCRQS*JJA  Document                 Page 26 of 180              00+15.6571                           N_ec 2
       QafcbsjcI                            N_prlcpq%Bgqrpg`srgtcQf_pcGrckq                                                                   Rmr_j_kmslr
                               /     Mpbgl_pw`sqglcqqglamkc&jmqq'&n_ec/*jglc00'    ||||||||||||||||||||||||||                         /    +1*45/*543,
                               0     Lcrpclr_jpc_jcqr_rcglamkc&jmqq'&_rr_afDmpk6603'      }}}}}}}}}}}}}}}}}}}}}}}                    0
                               1 _ Mrfcpepmqqpclr_jglamkc&jmqq' |||||||||||||||||||                    1_
                                 ` Cvnclqcqdpmkmrfcppclr_j_argtgrgcq&_rr_afqr_rckclr' |||||||          1`
                                   a Mrfcplcrpclr_jglamkc&jmqq',Qs`rp_arjglc1`dpmkjglc1_ }}}}}}}}}}}}}}}}}}}}}                    1a
                                     Es_p_lrccb
                               2     n_wkclrq8      _ Qcptgacq   2_                                 ` A_ngr_j 2`
                                     a Rmr_j,?bbjglcq2__lb2` ||||||||||||||||||||||||||||||||||||                                      2a
         Glamkc&Jmqq'




                               3     Glrcpcqrglamkc |||||||||||||||||||||||||||||||||||||||||||                                             3           0*460,
                               4     Bgtgbclbq_lbbgtgbclbcosgt_jclrq8       _ Mpbgl_pwbgtgbclbq   }}}}}}}}}}}}}}}}}}}}                  4_
                                     ` Os_jgdgcbbgtgbclbq 4`       a Bgtgbclbcosgt_jclrq 4a
                               5     Pmw_jrgcq ||||||||||||||||||||||||||||||||||||||||||||||                                                5
                               6     Lcrqfmpr+rcpka_ngr_je_gl&jmqq'&_rr_afQafcbsjcB&Dmpk/.43'' ||||||||||||||||||                   6
                               7 _ Lcrjmle+rcpka_ngr_je_gl&jmqq'&_rr_afQafcbsjcB&Dmpk/.43'' }}}}}}}}}}}}}}}}}}                     7_
                                 ` Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||||||                   7`
                                 a Slpca_nrspcbqcargml/03.e_gl&_rr_afqr_rckclr' |||||||||           7a
                              /.     Lcrqcargml/01/e_gl&jmqq'&_rr_afDmpk2575' |||||||||||||||||||||||||||                            /.
                              //     Mrfcpglamkc&jmqq'&qccglqrpsargmlq'Rwncz                                                          //
                              /0     Qcargml/57bcbsargml&_rr_afDmpk2340'       |||||||||||||||||||||||||||||                           /0
         Bcbsargmlq




                                                                                  QCCQR?RCKCLR3
                              /1 _ Amlrpg`srgmlq ||||||||||||||||||||||||||||||||||||||||||||                                               /1_          2*...,
                                 ` Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||||||||||||||||                                         /1`
                                   a Qcargml37&c'&0'cvnclbgrspcq8 &/'Rwncz                                              &0'?kmslrz /1a&0'
                                 b Mrfcpbcbsargmlq&qccglqrpsargmlq'Rwncz            QCCQR?RCKCLR4                                    /1b        67*050,
     Cknjmw+




                              /2 _ Lcrc_plgleq&jmqq'dpmkqcjd+cknjmwkclr ||||||||||||||||||||||||||||||                                  /2_
      kclr
      Qcjd+




                                   ` Epmqqd_pkglempdgqfgleglamkc |||||||||||||||||||||||||||||||||||                                    /2`
                                   a Epmqqlmld_pkglamkc }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                           /2a
                              /3 _ Jmu+glamkcfmsqgleapcbgr&qcargml20&h'&3'' |||||||||||||||||||||||||||||                               /3_
                                 ` Jmu+glamkcfmsqgleapcbgr&mrfcp' ||||||||||||||||||||||||||||||||||                                     /3`
         Apcbgrq




                                   a Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcq&pclr_jpc_jcqr_rc'&_rr_afDmpk1246*gd_nnjga_`jc' |||||||   /3a
                                   b Mrfcppclr_jpc_jcqr_rcapcbgrq&qccglqrpsargmlq' Rwncz                                             /3b
                                   c Mrfcppclr_japcbgrq&qccglqrpsargmlq'             Rwncz                                             /3c
                                   d Mrfcpapcbgrq&qccglqrpsargmlq'                    Rwncz                                             /3d
                              /4 _ L_kcmdamslrpwmpS,Q,nmqqcqqgmlz                              ||
                                 ` Epmqqglamkcdpmk_jjqmspacq |||||||||||||||||||||||||||||||||||                                        /4`
                                 a Epmqqglamkcqmspacb_rn_prlcpjctcj |||||||||||||||||||||||||||||||                                    /4a
                                     Dmpcgelepmqqglamkcqmspacb_rn_prlcpqfgnjctcj
       DmpcgelRp_lq_argmlq




                                   b Pcqcptcbdmpdsrspcsqc z                           c Dmpcgel`p_lafa_rcempw ||||||||| z              /4c
                                     N_qqgtc
                                   d a_rcempw z                          eEclcp_ja_rcempw z                         fMrfcp | z         /4f
                                     Bcbsargmlq_jjma_rcb_lb_nnmprgmlcb_rn_prlcpjctcj
                                   g Glrcpcqrcvnclqcz                                h Mrfcp |||||||||||||||||||                     z    /4h
                                     Bcbsargmlq_jjma_rcb_lb_nnmprgmlcb_rn_prlcpqfgnjctcjrmdmpcgelqmspacglamkc
                                   i Pcqcptcbdmpdsrspcsqc z                               j Dmpcgel`p_lafa_rcempw ||||||||| z          /4j
                                     N_qqgtc
                                   k a_rcempw z                                lEclcp_ja_rcempw z                        mMrfcp | z      /4m
                                   n Rmr_jdmpcgelr_vcq&afcaimlc'8z               N_gb         ?aapscb ||||||||||||||                /4n
                                   o Pcbsargmlglr_vcq_t_gj_`jcdmpapcbgr&_rr_afqr_rckclr' ||||||||||||||||||||||                      /4o
                                   p Mrfcpdmpcgelr_vgldmpk_rgml&_rr_afqr_rckclr' }}}}}}}}}}}}}}}}}}}}}}}}}}}
                              /5_ Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||||||||||||||||                                       /5_
    KglgkskR_v
    &?KR'Grckq




                                ` ?bhsqrcbe_glmpjmqq ||||||||||||||||||||||||||||||||||||||||                                            /5`
    ?jrcpl_rgtc




                                   a Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||||||||||||||||                                  /5a
                                   b Mgj*e_q*_lbecmrfcpk_jnpmncprgcq+epmqqglamkc |||||||||||||||||||||||||                           /5b
                                   c Mgj*e_q*_lbecmrfcpk_jnpmncprgcq+bcbsargmlq ||||||||||||||||||||||||||                            /5c
                                   d Mrfcp?KRgrckq&_rr_afqr_rckclr' }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                   /5d
                              /6 _ R_v+cvcknrglrcpcqrglamkc |||||||||||||||||||||||||||||||||||||                                         /6_
                                 ` Mrfcpr_v+cvcknrglamkc ||||||||||||||||||||||||||||||||||||||                                           /6`
        MrfcpGldmpk_rgml




                                                                                             QCCQR?RCKCLR5
                                 a Lmlbcbsarg`jccvnclqcq ||||||||||||||||||||||||||||||||||||||                                            /6a          7*105,
                              /7 _ Bgqrpg`srgmlqmda_qf_lbk_picr_`jcqcaspgrgcq |||||||||||||||||||||||||||                              /7_
                                 ` Bgqrpg`srgmlqmdmrfcpnpmncprw ||||||||||||||||||||||||||||||||||||                                     /7`
                              0. _ Gltcqrkclrglamkc |||||||||||||||||||||||||||||||||||||||||                                              0._          0*460,
                                   ` Gltcqrkclrcvnclqcq ||||||||||||||||||||||||||||||||||||||||                                           0.`
                                                                                                    QRKR6
                                   a Mrfcpgrckq_lb_kmslrq&_rr_afqr_rckclr' }}}}}}}}}}}}}}}}}}}}}}}}}}}}
    .//.2/./+.4+0/                      2                             Dmpk /.43 &0.0.'
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
                     Case 21-19749-JKS                                Doc 1         Filed 12/21/21 Entered 12/21/21 06:51:07 Desc Main
                    RCAFLMJMEWICGPCRQS*JJA
     Dmpk/.43&0.0.'                Document                                                   Page 27 of 180              00+15.6571                                                     N_ec 3
     ?l_jwqgqmdLcrGlamkc&Jmqq'
     /   Lcrglamkc&jmqq',Amk`glcQafcbsjcI*jglcq/rfpmsef//,Dpmkrfcpcqsjr*qs`rp_arrfcqskmdQafcbsjcI*jglcq/0rfpmsef/1b*_lb/4n    }}}}}         /      +1*540*133,
     0     ?l_jwqgq`w                                                &gg' Glbgtgbs_j             &ggg' Glbgtgbs_j                                        &t'Cvcknr                 &tg'
                                        &g' Ampnmp_rc                     &_argtc'                    &n_qqgtc'                 &gt'N_prlcpqfgn          Mpe_lgx_rgml           Lmkglcc-Mrfcp
           n_prlcprwnc8
         _ Eclcp_jn_prlcpq
         ` Jgkgrcbn_prlcpq                                                                        +4/5*63., +0*675*1/2,                                  +//4*716,               +/1.*031,

         QafcbsjcJ                @_j_lacQfccrqncp@mmiq
                                                                                               @cegllglemdr_vwc_p                                            Clbmdr_vwc_p
                                  ?qqcrq
                                                                                         &_'                               &`'                            &a'                        &b'
         / A_qf ||||||||||||||||                                                                                         354*...,                                            /*710*...,
         0_ Rp_bclmrcq_lb_aamslrqpcacgt_`jc |                              1*7//*...,                                                            2*0/5*...,
          ` Jcqq_jjmu_lacdmp`_bbc`rq ||||                                    116*...,                        1*351*...,                            266*...,              1*507*...,
         1 Gltclrmpgcq |||||||||||||                                                                             /*.77*...,                                                    /60*...,
         2 S,Q,emtcplkclrm`jge_rgmlq |||||
         3 R_v+cvcknrqcaspgrgcq ||||||||
         4 Mrfcpasppclr_qqcrq &_rr_afqr_rckclr' |                   QR?RCKCLR7                                      20/*...,                                                   437*...,
         5_ Jm_lqrmn_prlcpq&mpncpqmlqpcj_rcbrmn_prlcpq' |
          ` Kmpre_ec_lbpc_jcqr_rcjm_lq |||
         6 Mrfcpgltcqrkclrq&_rr_afqr_rckclr' |
         7_ @sgjbgleq_lbmrfcpbcnpcag_`jc_qqcrq                          /7*46/*/1.,                                                         01*.26*...,
        ` Jcqq_aasksj_rcbbcnpcag_rgml |||                                  6*14/*/1.,                        //*10.*...,                       7*642*...,                /1*/62*...,
      /._ Bcnjcr_`jc_qqcrq ||||||||||
        ` Jcqq_aasksj_rcbbcnjcrgml |||||
      // J_lb&lcrmd_lw_kmprgx_rgml' ||||
      /0_ Glr_leg`jc_qqcrq&_kmprgx_`jcmljw' ||
        ` Jcqq_aasksj_rcb_kmprgx_rgml |||
      /1 Mrfcp_qqcrq&_rr_afqr_rckclr' |||                            QR?RCKCLR/.                              /25*...,                                                    022*...,
      /2 Rmr_j_qqcrq |||||||||||||                                                                            /5*/14*...,                                                 /7*71.*...,
              Jg_`gjgrgcq_lbA_ngr_j
      /3 ?aamslrqn_w_`jc ||||||||||                                                                             0*154*...,                                                  0*60.*...,
      /4       Kmpre_ecq*lmrcq*`mlbqn_w_`jcgljcqqrf_l/wc_p

      /5 Mrfcpasppclrjg_`gjgrgcq&_rr_afqr_rckclr' |                 QR?RCKCLR//                             3*5/2*...,                                                  6*/33*...,
      /6 ?jjlmlpcamspqcjm_lq ||||||||
      /7_      Jm_lqdpmkn_prlcpq&mpncpqmlqpcj_rcbrmn_prlcpq'

           `   Kmpre_ecq*lmrcq*`mlbqn_w_`jcgl/wc_pmpkmpc

      0. Mrfcpjg_`gjgrgcq&_rr_afqr_rckclr' ||             1*523*..., QR?RCKCLR/0                                                                                        6*/06*...,
      0/ N_prlcpq%a_ngr_j_aamslrq ||||||                   3*1./*...,                                                                                                       605*...,
      00 Rmr_jjg_`gjgrgcq_lba_ngr_j }}}}}}              /5*/14*...,                                                                                                     /7*71.*...,
       QafcbsjcK+/ Pcamlagjg_rgmlmdGlamkc&Jmqq'ncp@mmiqUgrfGlamkc&Jmqq'ncpPcrspl
                                       Lmrc8Rfcn_prlcpqfgnk_w`cpcosgpcbrmdgjcQafcbsjcK+1,Qccglqrpsargmlq,
      /        Lcrglamkc&jmqq'ncp`mmiq |||||||                                                              4 Glamkcpcampbcbml`mmiqrfgqwc_plmrglajsbcb
      0        GlamkcglajsbcbmlQafcbsjcI*jglcq/*0*1a*                                                     mlQafcbsjcI*jglcq/rfpmsef//&grckgxc'8
               3*4_*5*6*7_*/.*_lb//*lmrpcampbcbml`mmiq                                                 _ R_v+cvcknrglrcpcqr"
               rfgqwc_p&grckgxc'8
      1 Es_p_lrccbn_wkclrq&mrfcprf_lfc_jrf                                                                  5 BcbsargmlqglajsbcbmlQafcbsjcI*jglcq/
        glqsp_lac' ||||||||||||||||                                                                               rfpmsef/1b*_lb/4n*lmraf_pecb_e_glqr
      2    Cvnclqcqpcampbcbml`mmiqrfgqwc_plmrglajsbcbml                                                        `mmiglamkcrfgqwc_p&grckgxc'8
           QafcbsjcI*jglcq/rfpmsef/1b*_lb/4n&grckgxc'8                                                    _ Bcnpcag_rgml"


       _ Bcnpcag_rgml"                                                                                        6 ?bbjglcq4_lb5 ||||||||||||
       ` Rp_tcj_lbclrcpr_glkclr"                                                                            7 Glamkc&jmqq'&?l_jwqgqmdLcrGlamkc&Jmqq'*
      3 ?bbjglcq/rfpmsef2 }}}}}}}}}}}                                                                              jglc/',Qs`rp_arjglc6dpmkjglc3 }}}}}}
         QafcbsjcK+0         ?l_jwqgqmdN_prlcpq%A_ngr_j?aamslrq
      /    @_j_lac_r`cegllglemdwc_p |||||||          +07/*42/,                                              4 Bgqrpg`srgmlq8 _A_qf |||||||||
      0    A_ngr_jamlrpg`srcb8 _A_qf |||||||               14*111,                                                             `Npmncprw ||||||||
                                `Npmncprw ||||||                                                               5 Mrfcpbcapc_qcq&grckgxc'8
      1 Lcrglamkc&jmqq'ncp`mmiq |||||||                                      +1*55/*460,
      2 Mrfcpglapc_qcq&grckgxc'8                                                                              6 ?bbjglcq4_lb5 ||||||||||||
                                +2*.04*77., 7 @_j_lac_rclbmdwc_p,Qs`rp_arjglc6dpmkjglc3 }}
      3 ?bbjglcq/rfpmsef2 }}}}}}}}}}}                                                             +2*.04*77.,
    .//.20./+.4+0/                      3                                                              Dmpk /.43 &0.0.'
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
                   Case 21-19749-JKS                       Doc 1         Filed 12/21/21 Entered 12/21/21 06:51:07                                       Desc Main
                                                                        Document     Page 28 of 180
    QAFCBSJCK+1                                            LcrGlamkc&Jmqq'Pcamlagjg_rgml                                                                  MK@Lm,/323+./01

                                                                 dmpAcpr_glN_prlcpqfgnq
                                                                                                                                                                 0.0.
    &Dmpk/.43'

    Bcn_prkclrmdrfcRpc_qspw
                                                                               z?rr_afrmDmpk/.43,
    Glrcpl_jPctclscQcptgac                            zEmrmuuu,gpq,emt-Dmpk/.43dmpglqrpsargmlq_lbrfcj_rcqrgldmpk_rgml,
    L_kcmdn_prlcpqfgn                                                                                                                            Cknjmwcpgbclrgdga_rgmllsk`cp

                RCAFLMJMEWICGPCRQS*JJA                                                                                                                00+15.6571
    RfgqQafcbsjcK+1gq`cgledgjcb`ca_sqc&afcai_jjrf_r_nnjw'8
      ?  V Rfc_kmslrmdrfcn_prlcpqfgn%qrmr_j_qqcrq_rrfcclbmdrfcr_vwc_pgqcos_jrm"/.kgjjgmlmpkmpc,
        @   V
                   Rfc_kmslrmdrfcn_prlcpqfgn%q_bhsqrcbrmr_j_qqcrqdmprfcr_vwc_pgqcos_jrm"/.kgjjgmlmpkmpc,Gd`mv@gqafcaicb*
                    clrcprfc_kmslrmd_bhsqrcbrmr_j_qqcrqdmprfcr_vwc_p        01*5./*460, ,
        A          Rfc_kmslrmdrmr_jpcacgnrqdmprfcr_vwc_pgqcos_jrm"13kgjjgmlmpkmpc,Gd`mvAgqafcaicb*clrcprfcrmr_j
                    pcacgnrqdmprfcr_vwc_p                                    ,
        B  ?lclrgrwrf_rgq_pcnmpr_`jcclrgrwn_prlcpugrfpcqncarrmrfcn_prlcpqfgnmulqmpgqbcckcbrmmul_lglrcpcqrmd3.#
            mpkmpcglrfcn_prlcpqfgn%qa_ngr_j*npmdgr*mpjmqqml_lwb_wbspglerfcr_vwc_pmdrfcn_prlcpqfgn,
                                                                                                                                               K_vgkskNcpaclr_ecMulcbmp
                                       L_kcmdPcnmpr_`jcClrgrwN_prlcp                                       GbclrgdwgleLsk`cp
                                                                                                                                                     BcckcbMulcb




     C             Tmjslr_pwdgjcp,
    N_prG           Dgl_lag_jGldmpk_rgml_lbLcrGlamkc&Jmqq'Pcamlagjg_rgml
    /_ Bgbrfcn_prlcpqfgndgjcQCADmpk/.+Idmpgrqglamkcqr_rckclrncpgmbclbgleugrfmpugrfglrfgqr_vwc_p=
        Wcq,Qignjglcq/`_lb/a_lbamknjcrcjglcq0rfpmsef//ugrfpcqncarrmrf_rQCADmpk/.+I,
            V
             Lm,Emrmjglc/`,Qccglqrpsargmlqgdksjrgnjclml+r_v+`_qgqglamkcqr_rckclrq_pcnpcn_pcb,
     ` Bgbrfcn_prlcpqfgnnpcn_pc_acprgdgcb_sbgrcblml+r_v+`_qgqglamkcqr_rckclrdmprf_rncpgmb=
        V Wcq,Qignjglc/a_lbamknjcrcjglcq0rfpmsef//ugrfpcqncarrmrf_rglamkcqr_rckclr,
           Lm,Emrmjglc/a,
        a Bgbrfcn_prlcpqfgnnpcn_pc_lml+r_v+`_qgqglamkcqr_rckclrdmprf_rncpgmb=
           Wcq,Amknjcrcjglcq0rfpmsef//ugrfpcqncarrmrf_rglamkcqr_rckclr,
                  Lm,Qignjglcq0rfpmsef1`_lbclrcprfcn_prlcpqfgn%qlcrglamkc&jmqq'ncpgrq`mmiq_lbpcampbqmljglc2_,
    0       Clrcprfcglamkcqr_rckclrncpgmb8    @cegllgle ./-./-0.0.                      Clbgle /0-1/-0.0.
    1_ F_qrfcn_prlcpqfgn%qglamkcqr_rckclr`cclpcqr_rcbdmprfcglamkcqr_rckclrncpgmbmljglc0=
        Wcq,&Gd Wcq* _rr_af_qr_rckclr_lbrfc_kmslrmdc_afgrckpcqr_rcb,'
            V
            Lm,
     ` F_qrfcn_prlcpqfgn%qglamkcqr_rckclr`cclpcqr_rcbdmp_lwmdrfc3glamkcqr_rckclrncpgmbqgkkcbg_rcjwnpcacbglerfcncpgmbmljglc0=
        Wcq,&Gd Wcq* _rr_af_qr_rckclr_lbrfc_kmslrmdc_afgrckpcqr_rcb,'
            V
             Lm,
    2_ Umpjbugbcamlqmjgb_rcblcrglamkc&jmqq'dpmkglamkcqr_rckclrqmspacgbclrgdgcbmlN_prG*jglc/ ||||||||||||                             2_        +2*3.1*.2/,
     ` Glbga_rc_aamslrgleqr_lb_pbsqcbdmpjglc2_,Qccglqrpsargmlq,
            /   V
                    E??N               0      GDPQ       1        Qcargml5.2&`'
       2        R_v+`_qgq      3  Mrfcp&qncagdw'z
    3_ Lcrglamkcdpmklmlglajsbg`jcdmpcgelclrgrgcq&_rr_afqr_rckclr' |||||||||||||||||||||||||||                                               3_    &                          '
     ` Lcrjmqqdpmklmlglajsbg`jcdmpcgelclrgrgcq&_rr_afqr_rckclr_lbclrcp_q_nmqgrgtc_kmslr' |||||||||||||||                              3`
    4_ Lcrglamkcdpmklmlglajsbg`jcS,Q,clrgrgcq&_rr_afqr_rckclr' ||||||||||||||||||||||||||||                                                 4_    &                          '
     ` Lcrjmqqdpmklmlglajsbg`jcS,Q,clrgrgcq&_rr_afqr_rckclr_lbclrcp_q_nmqgrgtc_kmslr' ||||||||||||||||                                4`
    5_ Lcrglamkc&jmqq'mdmrfcpdmpcgelbgqpce_pbcbclrgrgcq&_rr_afqr_rckclr' |||||||||||||||||||||||                                          5_
     ` Lcrglamkc&jmqq'mdmrfcpS,Q,bgqpce_pbcbclrgrgcq&_rr_afqr_rckclr' |||||||||||||||||||||||||                                           5`
    6       ?bhsqrkclrrmcjgkgl_rgmlqmdrp_lq_argmlq`crucclglajsbg`jcclrgrgcq_lblmlglajsbg`jcclrgrgcq&_rr_afqrkr,'    |||||||             6
    7       ?bhsqrkclrrmpcamlagjcglamkcqr_rckclrncpgmbrmr_vwc_p&_rr_afqr_rckclr' |||||||||||||||||||||                                    7
    /. Mrfcp_bhsqrkclrqrmpcamlagjcrm_kmslrmljglc//&_rr_afqr_rckclr' ||||||||||||||||||||||||                                             /.
    // Lcrglamkc&jmqq'ncpglamkcqr_rckclrmdrfcn_prlcpqfgn, Amk`glcjglcq2_rfpmsef/. |||||||||||||||                                     //        +2*3.1*.2/,
       Lmrc8N_prG*jglc//*ksqrcos_jN_prGG*jglc04*amjskl&_'9mpDmpk/.43*QafcbsjcK+/*jglc/,Qccglqrpsargmlq,
    /0 Clrcprfcrmr_j_kmslr&lmrhsqrrfcn_prlcpqfgn%qqf_pc'mdrfc_qqcrq_lbjg_`gjgrgcqmd_jjclrgrgcqglajsbcbmppckmtcbmlrfcdmjjmuglejglcq,
                                                         Rmr_j?qqcrq                      Rmr_jJg_`gjgrgcq
     _ GlajsbcbmlN_prG*jglc2                      /7*71.*...,                        /7*/.1*...,
     ` PckmtcbmlN_prG*jglc3
     a PckmtcbmlN_prG*jglc4
     b GlajsbcbmlN_prG*jglc5
    DmpN_ncpumpiPcbsargml?arLmrgac*qccrfcglqrpsargmlqdmpwmsppcrspl,                                                                       QafcbsjcK+1&Dmpk/.43'0.0.
    ./.77/./+/1+0/JF?
                                          4
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
                  Case 21-19749-JKS                             Doc 1          Filed 12/21/21 Entered 12/21/21 06:51:07                                  Desc Main
                                                                              Document     Page 29 of 180
    QafcbsjcK+1&Dmpk/.43'0.0.                                                                                                                                                        N_ec0
    L_kcmdn_prlcpqfgn                                                                                                                             Cknjmwcpgbclrgdga_rgmllsk`cp
                          RCAFLMJMEWICGPCRQS*JJA                                                     00+15.6571
    N_prGG          Pcamlagjg_rgmlmdLcrGlamkc&Jmqq'ncpGlamkcQr_rckclrmdN_prlcpqfgnUgrfGlamkc&Jmqq'ncp
                     Pcrspl
                                                                                           &_'                                &`'          &a'                           &b'
                       Glamkc&Jmqq'Grckq                                          Glamkc&Jmqq'ncp                     Rcknmp_pw    Ncpk_lclr                 Glamkc&Jmqq'ncp
                                                                                    GlamkcQr_rckclr                      Bgddcpclac   Bgddcpclac                    R_vPcrspl

             ?rr_afqr_rckclrqdmpjglcq/rfpmsef/.,
             Glamkc&jmqq'dpmkcosgrw
     /       kcrfmbdmpcgelampnmp_rgmlq ||||||||||||
             Epmqqdmpcgelbgtgbclbqlmr
     0       npctgmsqjwr_vcb ||||||||||||||||
             Qs`n_prD*OCD*_lbqgkgj_p
     1       glamkcglajsqgmlq ||||||||||||||||
             Epmqqdmpcgelbgqrpg`srgmlq
     2       npctgmsqjwr_vcb ||||||||||||||||
             Glamkc&jmqq'dpmkcosgrw
     3       kcrfmbS,Q,ampnmp_rgmlq |||||||||||||

     4       S,Q,bgtgbclbq   |||||||||||||||||
     5       Glamkc&jmqq'dpmkS,Q,n_prlcpqfgnq ||||||                        +2*125*520,                               5..*110,         7*105, +1*416*.61,
     6       Glamkc&jmqq'dpmkdmpcgeln_prlcpqfgnq ||||||||
             Glamkc&jmqq'dpmkmrfcpn_qq+
     7       rfpmsefclrgrgcq |||||||||||||||||
             Grckqpcj_rglermpcnmpr_`jc
     /.      rp_lq_argmlq ||||||||||||||||||

     //      Glrcpcqrglamkc&qccglqrpsargmlq' ||||||||
     /0      Rmr_j_aaps_jrma_qf_bhsqrkclr ||||||||
     /1      Fcbeglerp_lq_argmlq |||||||||||||
     /2      K_pi+rm+k_picrglamkc&jmqq' |||||||||
     /3      Amqrmdemmbqqmjb&qccglqrpsargmlq' ||||||                      &'                                     &'
             Q_jctcpqsqjc_qc&dmpqcjjcpq
     /4      _lb-mpjcqqmpq' |||||||||||||||||

     /5      Qcargml26/&_'_bhsqrkclrq ||||||||||
     /6      Slc_plcb-bcdcppcbpctclsc          ||||||||||
             Glamkcpcamelgrgmldpmk
     /7      jmle+rcpkamlrp_arq |||||||||||||||
             Mpgegl_jgqqscbgqamslr_lb
     0.      mrfcpgknsrcbglrcpcqr ||||||||||||||

     0/_ Glamkcqr_rckclre_gl-jmqqmlq_jc*cvaf_lec*
         _`_lbmlkclr*umprfjcqqlcqq*mpmrfcpbgqnmqgrgmlmd
             _qqcrqmrfcprf_lgltclrmpw_lbn_qq+rfpmsefclrgrgcq
         ` Epmqqa_ngr_je_glqdpmkQafcbsjcB*cvajsbgle
           _kmslrqdpmkn_qq+rfpmsefclrgrgcq |||||||
         a Epmqqa_ngr_jjmqqcqdpmkQafcbsjcB*cvajsbgle
           _kmslrqdpmkn_qq+rfpmsefclrgrgcq*_`_lbmlkclr
             jmqqcq*_lbumprfjcqqqrmaijmqqcq |||||||
         b Lcre_gl-jmqqpcnmprcbmlDmpk2575*jglc/5*
           cvajsbgle_kmslrqdpmkn_qq+rfpmsefclrgrgcq*
             _`_lbmlkclrjmqqcq*_lbumprfjcqqqrmaijmqqcq |
         c ?`_lbmlkclrjmqqcq |||||||||||||
           Umprfjcqqqrmaijmqqcq
         d &_rr_afqr_rckclr' ||||||||||||||||
         e   Mrfcpe_gl-jmqqmlbgqnmqgrgmlmd_qqcrqmrfcprf_lgltclrmpw
             Mrfcpglamkc&jmqq'grckqugrf
     00      bgddcpclacq&_rr_afqr_rckclr'    |||||||||||
     01      Rmr_jglamkc&jmqq'grckq, Amk`glcjglcq/
             rfpmsef00 |||||||||||||||||                                       +2*125*520,                               5..*110,         7*105, +1*416*.61,
     02      Rmr_jcvnclqc-bcbsargmlgrckq, &DpmkN_prGGG*
             jglc1/'&qccglqrpsargmlq' |||||||||||                              +/0.*077,                                              1/*.05,    +67*050,
     03                                        QRKR/2
             Mrfcpgrckqugrflmbgddcpclacq |||||||||                             +13*...,                                                         +13*...,
     04      Pcamlagjg_rgmlrmr_jq, Amk`glcjglcq01rfpmsef03                +2*3.1*.2/,                               5..*110,       2.*132, +1*540*133,

             Lmrc8Jglc04*amjskl&_'*ksqrcos_jN_prG*jglc//*_lbamjskl&b'ksqrcos_jDmpk/.43*?l_jwqgqmdLcr
             Glamkc&Jmqq'*jglc/,

                                                                                                                                                     QafcbsjcK+1&Dmpk/.43'0.0.




    ./.770
    ./+/1+0/
                                          5
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                           Document     Page 30 of 180
    QafcbsjcK+1&Dmpk/.43'0.0.                                                                                                                   N_ec1
    L_kcmdn_prlcpqfgn                                                                                                   Cknjmwcpgbclrgdga_rgmllsk`cp
                        RCAFLMJMEWICGPCRQS*JJA                                                  00+15.6571
                   Pcamlagjg_rgmlmdLcrGlamkc&Jmqq'ncpGlamkcQr_rckclrmdN_prlcpqfgnUgrfGlamkc&Jmqq'ncp
    N_prGGG
                   Pcrspl+Cvnclqc-BcbsargmlGrckq
                                                                                    &_'             &`'          &a'                        &b'
                Cvnclqc-BcbsargmlGrckq                                         Cvnclqcncp     Rcknmp_pw    Ncpk_lclr                 Bcbsargmlncp
                                                                             GlamkcQr_rckclr   Bgddcpclac   Bgddcpclac                 R_vPcrspl

      /    Qr_rc_lbjma_jasppclrglamkcr_vcvnclqc|||
      0    Qr_rc_lbjma_jbcdcppcbglamkcr_vcvnclqc|||
      1    Dmpcgelasppclrglamkcr_vcvnclqc&mrfcprf_l
           dmpcgelugrffmjbgler_vcq'|||||||||||
      2    Dmpcgelbcdcppcbglamkcr_vcvnclqc||||||
      3    Cosgrw+`_qcbamknclq_rgml||||||||||
      4    Kc_jq_lbclrcpr_glkclr|||||||||||
      5    Dglcq_lbncl_jrgcq||||||||||||||
           Hsbekclrq*b_k_ecq*_u_pbq*
      6    _lbqgkgj_pamqrq ||||||||||||||||

      7    Es_p_lrccbn_wkclrq|||||||||||||
     /.    Nclqgml_lbnpmdgr+qf_pgle|||||||||||
     //    Mrfcpnmqr+pcrgpckclr`clcdgrq|||||||||
     /0    Bcdcppcbamknclq_rgml||||||||||||
     /1    Af_pgr_`jcamlrpg`srgmlmda_qf_lbr_leg`jc
           npmncprw|||||||||||||||||||
           Af_pgr_`jcamlrpg`srgmlmd
     /2    glr_leg`jcnpmncprw |||||||||||||||

     /3    Mpe_lgx_rgml_jcvnclqcq_qncpPcesj_rgmlq
           qcargml/,5.7+0&_'||||||||||||||
     /4    Qwlbga_rgmlcvnclqcq_qncpPcesj_rgmlqqcargml/,5.7+0&`',,

     /5    Asppclrwc_p_aosgqgrgml-pcmpe_lgx_rgmlgltcqrkclr
           `_ligledccq|||||||||||||||||
     /6    Asppclrwc_p_aosgqgrgml-pcmpe_lgx_rgmljce_j_lb
           _aamslrgledccq|||||||||||||||
     /7    ?kmprgx_rgml-gkn_gpkclrmdemmbugjj||||||
     0.    ?kmprgx_rgmlmd_aosgqgrgml*pcmpe_lgx_rgml*_lb
           qr_pr+snamqrq||||||||||||||||
           Mrfcp_kmprgx_rgmlmp
     0/    gkn_gpkclrupgrc+mddq    ||||||||||||||
     00    Pcqcptcbdmpdsrspcsqc ||||||||||||
     01_ Bcnjcrgml+mgj$e_q |||||||||||||
       ` Bcnjcrgml+mrfcprf_lmgj$e_q |||||||||
     02    Glr_leg`jcbpgjjgle_lbbctcjmnkclramqrq&GBA' ||
     03    Bcnpcag_rgml |||||||||||||||||
     04    @_bbc`rcvnclqc |||||||||||||||
     05    Glrcpcqrcvnclqc&qccglqrpsargmlq' |||||||                            67*050,       +67*050,
     06    Nspaf_qctcpqsqjc_qc&dmpnspaf_qcpq_lb-mp
           jcqqccq' |||||||||||||||||||
     07    Pcqc_paf_lbbctcjmnkclramqrq     ||||||||||
     1.    Mrfcpcvnclqc-bcbsargmlgrckqugrfbgddcpclacq
                                      QRKR/3
           &_rr_afqr_rckclr' ||||||||||||||                                      1/*.05,         67*050,    +1/*.05,                      67*050,
     1/    Rmr_jcvnclqc-bcbsargmlgrckq, Amk`glcjglcq/
           rfpmsef1.,Clrcpfcpc_lbmlN_prGG*jglc02*
           pcnmprglenmqgrgtc_kmslrq_qlce_rgtc_lblce_rgtc
           _kmslrq_qnmqgrgtc        }}}}}}}}}}}}}                             /0.*077,                     +1/*.05,                      67*050,
                                                                                                                           QafcbsjcK+1&Dmpk/.43'0.0.




    ./.771
    ./+/1+0/
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                 Case 21-19749-JKS                      Doc 1       Filed 12/21/21 Entered 12/21/21 06:51:07                                 Desc Main
                                                                   Document     Page 31 of 180
    Dmpk   4543
    &Pct,Bcack`cp0.0.'
                                                ApcbgrdmpGlapc_qglePcqc_paf?argtgrgcq
                                                                           z?rr_afrmwmspr_vpcrspl,
                                                                                                                                                  MK@Lm,/323+.4/7

    Bcn_prkclrmdrfcRpc_qspw                                                                                                                     ?rr_afkclr
    Glrcpl_jPctclscQcptgac                  zEmrmuuu,gpq,emt-Dmpk4543dmpglqrpsargmlq_lbrfcj_rcqrgldmpk_rgml,                            QcosclacLm,   454
    L_kc&q'qfmulmlpcrspl                                                                                                                Gbclrgdwglelsk`cp


    RCAFLMJMEWICGPCRQS*JJA                                                                                                                 00+15.6571
    Qcargml?+Pcesj_pApcbgr, Qignrfgqqcargml_lbemrmQcargml@gdwms_pccjcarglempnpctgmsqjwcjcarcb&_lb_pclmrpctmigle'rfc_jrcpl_rgtc
    qgknjgdgcbapcbgr,
     /     Acpr_gl_kmslrqn_gbmpglasppcbrmclcpewamlqmprg_ }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                        /
     0     @_qgapcqc_pafn_wkclrqrmos_jgdgcbmpe_lgx_rgmlq ||||||||||||||||                               0
     1     Os_jgdgcbmpe_lgx_rgml`_qcncpgmb_kmslr ||||||||||||||||||||            1
     2     Qs`rp_arjglc1dpmkjglc0,Gdxcpmmpjcqq*clrcp+.+ }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                    2
     3     U_ecqdmpos_jgdgcbqcptgacq&bmlmrglajsbcu_ecqsqcbgldgespglerfc
           umpimnnmprslgrwapcbgr' ||||||||||||||||||||||||||||                                             3
     4     Amqrmdqsnnjgcq |||||||||||||||||||||||||||||||                                                  4
     5     Pclr_jmpjc_qcamqrqmdamknsrcpq |||||||||||||||||||||||                                        5
     6     Clrcprfc_nnjga_`jcncpaclr_ecmdamlrp_arpcqc_pafcvnclqcq |||||||||||                         6
     7     Rmr_jos_jgdgcbpcqc_pafcvnclqcq,?bbjglcq3rfpmsef6 ||||||||||||||                           7
    /.     Clrcpdgvcb+`_qcncpaclr_ec*`srlmrkmpcrf_l/4#&.,/4' |||||||||||||                          /.                     #
    //     Clrcp_tcp_ec_lls_jepmqqpcacgnrq |||||||||||||||||||||||                                      //
    /0     Ksjrgnjwjglc//`wrfcncpaclr_ecmljglc/. |||||||||||||||||||                                /0
    /1     Qs`rp_arjglc/0dpmkjglc7,Gdxcpmmpjcqq*clrcp+.+ ||||||||||||||||                        /1
    /2     Ksjrgnjwjglc7`w3.#&.,3.' ||||||||||||||||||||||||||         /2
    /3     Clrcprfcqk_jjcp mdjglc/1mpjglc/2 ||||||||||||||||||||||||||||||||||||||                                             /3                           .,
    /4     ?bbjglcq/*2*_lb/3 |||||||||||||||||||||||||||||||||||||||||||||                                                        /4                           .,
    /5     ?pcwmscjcarglerfcpcbsacbapcbgrslbcpqcargml06.A= z Wcq        V
                                                                                          Lm 
           Gd Wcq* ksjrgnjwjglc/4`w/3,6#&.,/36',Gd Lm* ksjrgnjwjglc/4`w0.#&.,0.'_lbqccrfcglqrpsargmlqdmprfc
           qr_rckclrrf_rksqr`c_rr_afcb,Kck`cpqmdamlrpmjjcbepmsnqmp`sqglcqqcqslbcpamkkmlamlrpmj*qcc
          glqrpsargmlqdmprfcqr_rckclrrf_rksqr`c_rr_afcb }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                        /5
    Qcargml@+?jrcpl_rgtcQgknjgdgcbApcbgr, Qignrfgqqcargmlgdwms_pcamknjcrgleQcargml?,
    /6     Acpr_gl_kmslrqn_gbmpglasppcbrmclcpewamlqmprg_ }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                        /6
    /7     @_qgapcqc_pafn_wkclrqrmos_jgdgcbmpe_lgx_rgmlq ||||||||||||||||   /7
    0.     Os_jgdgcbmpe_lgx_rgml`_qcncpgmb_kmslr ||||||||||||||||||||             0.
    0/     Qs`rp_arjglc0.dpmkjglc/7,Gdxcpmmpjcqq*clrcp+.+ |||||||||||||||||||||||||||||||                                   0/
    00     ?bbjglcq/6_lb0/ ||||||||||||||||||||||||||||||||||||||||||||||                                                          00
    01     Ksjrgnjwjglc00`w0.#&.,0.' |||||||||||||||||||||||||||||||||||||||||                                                    01
    02     U_ecqdmpos_jgdgcbqcptgacq&bmlmrglajsbcu_ecqsqcbgldgespglerfc
           umpimnnmprslgrwapcbgr' ||||||||||||||||||||||||||||                                             02
    03     Amqrmdqsnnjgcq |||||||||||||||||||||||||||||||                                                  03
    04     Pclr_jmpjc_qcamqrqmdamknsrcpq |||||||||||||||||||||||                                        04
    05     Clrcprfc_nnjga_`jcncpaclr_ecmdamlrp_arpcqc_pafcvnclqcq      |||||||||||                    05
    06     Rmr_jos_jgdgcbpcqc_pafcvnclqcq,?bbjglcq02rfpmsef05 |||||||||||||                          06
    07     Clrcpwmsprmr_jos_jgdgcbpcqc_pafcvnclqcqdmprfcnpgmp1r_vwc_pq,Gdwmsf_blm
           os_jgdgcbpcqc_pafcvnclqcqgl_lwmlcmdrfmqcwc_pq*qignjglcq1._lb1/ ||||||                07
    1.     Bgtgbcjglc07`w4,.   |||||||||||||||||||||||||||||                                             1.
    1/     Qs`rp_arjglc1.dpmkjglc06,Gdxcpmmpjcqq*clrcp+.+ |||||||||||||||                     1/
    10     Ksjrgnjwjglc1/`w/2#&.,/2',Gdwmsqignncbjglcq1._lb1/*ksjrgnjwjglc06`w4#&.,.4' ||||||||||||||                10
    11     ?bbjglcq01_lb10 ||||||||||||||||||||||||||||||||||||||||||||||                                                          11
    12     ?pcwmscjcarglerfcpcbsacbapcbgrslbcpqcargml06.A= z Wcq                  Lm 
           Gd Wcq* ksjrgnjwjglc11`w57#&.,57',Gd Lm* clrcprfc_kmslrdpmkjglc11_lbqccrfcjglc/5
           glqrpsargmlqdmprfcqr_rckclrrf_rksqr`c_rr_afcb,Kck`cpqmdamlrpmjjcbepmsnqmp`sqglcqqcq
           slbcpamkkmlamlrpmj*qccglqrpsargmlqdmprfcqr_rckclrrf_rksqr`c_rr_afcb          }}}}}}}}}}}}}}}}}}}                 12
    JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccqcn_p_rcglqrpsargmlq,                                                                          Dmpk4543&Pct,/0+0.0.'




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    Dmpk4543&Pct,/0+0.0.'    RCAFLMJMEWICGPCRQS*JJA                                                                                       00+15.6571 N_ec0

    QcargmlA+AsppclrWc_pApcbgr

    13     ClrcprfcnmprgmlmdrfcapcbgrdpmkDmpk6710*jglc0*rf_rgq_rrpg`sr_`jcrmu_ecqrf_rucpc_jqm
           sqcbrmdgespcrfcapcbgrmljglc/5mpjglc12&ufgafctcp_nnjgcq' ||||||||||||||||||||||||||                                     13
    14     Qs`rp_arjglc13dpmkjglc/5mpjglc12&ufgafctcp_nnjgcq',Gdxcpmmpjcqq*clrcp+.+ ||||||||||||||||||                        14                       .,
    15     Apcbgrdmpglapc_qglepcqc_paf_argtgrgcqdpmkn_prlcpqfgnq*Qampnmp_rgmlq*cqr_rcq*_lbrpsqrq ||||||||||||||                    15
    16     ?bbjglcq14_lb15 ||||||||||||||||||||||||||||||||||||||||||||||                                                                 16
           £ Cqr_rcq_lbrpsqrq*emrmjglc17,
           £ N_prlcpqfgnq_lbQampnmp_rgmlqlmrcjcarglerfcn_wpmjjr_vapcbgr*qrmnfcpc_lbpcnmprrfgq_kmslrmlQafcbsjcI,
           £ N_prlcpqfgnq_lbQampnmp_rgmlqcjcarglerfcn_wpmjjr_vapcbgr*amknjcrcQcargmlB_lbpcnmprmlQafcbsjcIrfc
           _kmslrmlrfgqjglcpcbsacb`wrfc_kmslrmljglc22,
           £ Cjgeg`jcqk_jj`sqglcqqcq*qrmnfcpc_lbpcnmprrfcapcbgrmlDmpk16..*N_prGGG*jglc2g,Qccglqrpsargmlqdmprfc
           bcdglgrgmlmdcjgeg`jcqk_jj`sqglcqq,
           £ Dgjcpqmrfcprf_lcjgeg`jcqk_jj`sqglcqqcq*qrmnfcpc_lbpcnmprrfcapcbgrmlDmpk16..*N_prGGG*jglc/a,
           Lmrc8Os_jgdgcbqk_jj`sqglcqqdgjcpq*mrfcprf_ln_prlcpqfgnq_lbQampnmp_rgmlq*cjcarglerfcn_wpmjjr_vapcbgrksqr
           amknjcrcDmpk16..`cdmpcamknjcrgleQcargmlB,
    17     ?kmslr_jjma_rcbrm`clcdgag_pgcqmdrfccqr_rcmprpsqr |||||||||||||||||||||||||||||||                                           17
    2.     Cqr_rcq_lbrpsqrq*qs`rp_arjglc17dpmkjglc16,Dmpcjgeg`jcqk_jj`sqglcqqcq*pcnmprrfcapcbgrmlDmpk16..*N_prGGG*
          jglc2g,Qccglqrpsargmlq,Dmpdgjcpqmrfcprf_lcjgeg`jcqk_jj`sqglcqqcq*pcnmprrfcapcbgrmlDmpk16..*N_prGGG*jglc/a }}} 2.
    QcargmlB+Os_jgdgcbQk_jj@sqglcqqN_wpmjjR_vCjcargml_lbN_wpmjjR_vApcbgr, Qignrfgqqcargmlgdrfcn_wpmjjr_vcjcargmlbmcq
    lmr_nnjw,Qccglqrpsargmlq,
    2/     Afcairfgq`mvgdwms_pc_os_jgdgcbqk_jj`sqglcqqcjcarglerfcn_wpmjjr_vapcbgr,Qccglqrpsargmlq    
    20     Clrcprfcnmprgmlmdjglc14cjcarcb_q_n_wpmjjr_vapcbgr&bmlmrclrcpkmpcrf_l"03.*...',Qccglqrpsargmlq      ||||||       20
    21     Eclcp_j`sqglcqqapcbgra_ppwdmpu_pbdpmkrfcasppclrwc_p&qccglqrpsargmlq',N_prlcpqfgnq_lbQampnmp_rgmlq*qign
           rfgqjglc_lbemrmjglc22 |||||||||||||||||||||||||||||||||||||||||||                                                            21
    22     N_prlcpqfgnq_lbQampnmp_rgmlq*clrcprfcqk_jjcpmdjglc14mpjglc20,?jjmrfcpq*clrcprfcqk_jjcqrmdjglc14*jglc20*mp
           jglc21,Clrcpfcpc_lbmlrfc_nnjga_`jcjglcmdDmpk6752*N_pr/*amjskl&c',Kck`cpqmdamlrpmjjcbepmsnqmp`sqglcqqcq
           slbcpamkkmlamlrpmj*qccglqrpsargmlqdmprfcqr_rckclrrf_rksqr`c_rr_afcb        }}}}}}}}}}}}}}}}}}}                          22
                                                                                                                                                    Dmpk4543&Pct,/0+0.0.'




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    Dmpk    67/4+?
    &Pct,Lmtck`cp0./7'
                                                 Qsnnjckclr_j?rr_afkclrrmQafcbsjcK+1
                                                                                                                                       MK@Lm,/323+./01
                                                 z?rr_afrmQafcbsjcK+1dmpDmpk/.43*//0.*//0.+J*//0.+NA*mp//0.+Q,
    Bcn_prkclrmdrfcRpc_qspw
    Glrcpl_jPctclscQcptgac                             zEmrmuuu,gpq,emt-Dmpk//0.dmprfcj_rcqrgldmpk_rgml,
    L_kcmdamkkmln_pclr                                                                                                    Cknjmwcpgbclrgdga_rgmllsk`cp
            RCAFLMJMEWICGPCRQS*JJA                                                                                           00+15.6571
    L_kcmdqs`qgbg_pw                                                                                                       Cknjmwcpgbclrgdga_rgmllsk`cp

        N_prG     AmqrmdEmmbqQmjb
                                                                     &_'                     &`'                    &a'                      &b'
                   AmqrmdEmmbqQmjbGrckq                      Cvnclqcncp            Rcknmp_pw              Ncpk_lclr               Bcbsargmlncp
                                                              GlamkcQr_rckclr           Bgddcpclac             Bgddcpclac               R_vPcrspl


    /     ?kmslrq_rrpg`sr_`jcrmamqrdjmu_qqsknrgmlq


    0     ?kmslrq_rrpg`sr_`jcrm8


        _ Qrmaimnrgmlcvnclqc ||||||||||


        ` Mrfcpcosgrw+`_qcbamknclq_rgml |||||


        a Kc_jq_lbclrcpr_glkclr |||||||||


        b N_p_afsrcn_wkclrq      ||||||||||


        c Amknclq_rgmlugrfqcargml/40&k'jgkgr_rgml


        d Nclqgml_lbnpmdgrqf_pgle ||||||||


        e Mrfcpnmqr+pcrgpckclr`clcdgrq ||||||


        f Bcdcppcbamknclq_rgml |||||||||


        g Pcqcptcb |||||||||||||||


        h ?kmprgx_rgml ||||||||||||||


        i Bcnjcrgml |||||||||||||||


        j Bcnpcag_rgml ||||||||||||||


        k Ampnmp_rc+mulcbjgdcglqsp_lacnpckgskq |


        l Mrfcpqcargml041?amqrq ||||||||


    1     Gltclrmpwqfpgli_ec_aaps_jq |||||||


    2     Cvacqqgltclrmpw_lbm`qmjcqaclacpcqcptcq


    3     Jmucpmdamqrmpk_picrupgrc+bmulq |||


    4     Mrfcpgrckqugrfbgddcpclacq&_rr_afqr_rckclr'


    5     Mrfcpgrckqugrflmbgddcpclacq ||||||
    6     Rmr_jamqrmdemmbqqmjb, ?bbjglcq/rfpmsef
          5glamjsklq_*`*a*_lbb,Clrcprmr_jqmlrfc
          _nnjga_`jcQafcbsjcK+1,Qccglqrpsargmlq }
    JF?        DmpN_ncpumpiPcbsargml?arLmrgac*qccglqrpsargmlq,                                                          Dmpk67/4+? &Pct,//+0./7'


    ./11/3
    .2+./+0.
                                          //
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
                Case 21-19749-JKS                        Doc 1    Filed 12/21/21 Entered 12/21/21 06:51:07      Desc Main
                                                                 Document     Page 34 of 180
                           RCAFLMJMEWICGPCRQS*JJA
    Dmpk67/4+?&Pct,//+0./7'                                                                                00+15.6571                N_ec0

     N_prGG       GlrcpcqrGlamkc
                                                                    &_'               &`'            &a'                     &b'
                     GlrcpcqrGlamkcGrck                    Glamkc&Jmqq'ncp   Rcknmp_pw      Ncpk_lclr           Glamkc&Jmqq'ncp
                                                             GlamkcQr_rckclr     Bgddcpclac     Bgddcpclac              R_vPcrspl
    /    R_v+cvcknrglrcpcqrglamkc


    0    Glrcpcqrglamkcdpmkfw`pgbqcaspgrgcq


    1    Q_jc-jc_qcglrcpcqrglamkc


    2_ Glrcpamkn_lwglrcpcqrglamkc+Dpmkmsrqgbc
       r_v_ddgjg_rcbepmsn
    2` Glrcpamkn_lwglrcpcqrglamkc+Dpmkr_v
       _ddgjg_rcbepmsn
    3    Mrfcpglrcpcqrglamkc


    4    Rmr_jglrcpcqrglamkc,?bbjglcq/rfpmsef3

         glamjsklq_*`*a*_lbb,Clrcprmr_jml

         rfc_nnjga_`jcQafcbsjcK+1,

         Qccglqrpsargmlq,
    N_prGGG       GlrcpcqrCvnclqc
                                                                    &_'               &`'            &a'                    &b'
                     GlrcpcqrCvnclqcGrck                      Cvnclqcncp      Rcknmp_pw      Ncpk_lclr             Bcbsargmlncp
                                                             GlamkcQr_rckclr     Bgddcpclac     Bgddcpclac             R_vPcrspl
    /    Glrcpcqrcvnclqcdpmkfw`pgbqcaspgrgcq


    0    Jc_qc-nspaf_qcglrcpcqrcvnclqc


    1_ Glrcpamkn_lwglrcpcqrcvnclqc+N_gbrm
       msrqgbcr_v_ddgjg_rcbepmsn
    1` Glrcpamkn_lwglrcpcqrcvnclqc+N_gbrm
       r_v_ddgjg_rcbepmsn
    2    Mrfcpglrcpcqrcvnclqc
                                      QRKR/5                       67*050,        +67*050,
    3    Rmr_jglrcpcqrcvnclqc,?bbjglcq/rfpmsef2

         glamjsklq_*`*a*_lbb,Clrcprmr_jml

         rfc_nnjga_`jcQafcbsjcK+1,

         Qccglqrpsargmlq,                                          67*050,        +67*050,
                                                                                                              Dmpk67/4+? &Pct,//+0./7'




    ./11/4
    .2+./+0.
                                          /0
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
                 Case 21-19749-JKS                 Doc 1      Filed 12/21/21 Entered 12/21/21 06:51:07                              Desc Main
                                                             Document     Page 35 of 180
                                             Jgkgr_rgmlml@sqglcqqGlrcpcqrCvnclqc
    Dmpk   677.
    &Pct,K_w0.0.'
                                                       SlbcpQcargml/41&h'                                                               MK@Lm,/323+./01
                                                                    z?rr_afrmwmspr_vpcrspl,
    Bcn_prkclrmdrfcRpc_qspw
    Glrcpl_jPctclscQcptgac          zEmrmuuu,gpq,emt-Dmpk677.dmpglqrpsargmlq_lbrfcj_rcqrgldmpk_rgml,
    R_vn_wcpl_kc&q'qfmulmlr_vpcrspl                                                                                  Gbclrgdga_rgmllsk`cp
           RCAFLMJMEWICGPCRQS*JJA                                                                                         00+15.6571
    GdDmpk677.pcj_rcqrm_lgldmpk_rgmlpcrspldmp_dmpcgelclrgrw&dmpcv_knjc*Dmpk325/'*clrcp8
    L_kcmddmpcgelclrgrw z
    Cknjmwcpgbclrgdga_rgmllsk`cp*gd_lw z
    PcdcpclacGBlsk`cp z
     N_prG        Amknsr_rgmlmd?jjmu_`jc@sqglcqqGlrcpcqrCvnclqc
     J[lnCcm]igjf_n_^\s[ffn[rj[s_lmmo\d_]nnim_]ncih+0-"d#(M]b_^of_;[h^M]b_^of_<h__^ni\_]igjf_n_^\_`il_J[lnCqb_hnb_
     n[rj[s_lcm[j[lnh_lilmb[l_bif^_li`[j[mm'nblioab_hncnsmo\d_]nnim_]ncih+0-"d#(

    QcargmlG+@sqglcqqGlrcpcqrCvnclqc
       /      Asppclrwc_p`sqglcqqglrcpcqrcvnclqc&lmrglajsbgledjmmpnj_l
              dgl_lagleglrcpcqrcvnclqc'*`cdmpcrfcqcargml/41&h'jgkgr_rgml |||||||           /          67*050,
       0      Bgq_jjmucb`sqglcqqglrcpcqrcvnclqca_ppwdmpu_pbqdpmknpgmp
              wc_pq,&Bmcqlmr_nnjwrm_n_prlcpqfgn' ||||||||||||||||||                         0
       1      N_prlcp%qcvacqq`sqglcqqglrcpcqrcvnclqcrpc_rcb_qn_gbmp
              _aapscbglasppclrwc_p&Qafcbsjc?*jglc22*amjskl&f'' ||||||||||                1
       2      Djmmpnj_ldgl_lagleglrcpcqrcvnclqc,Qccglqrpsargmlq    ||||||||||
                                                                                 2
       3      Rmr_j`sqglcqqglrcpcqrcvnclqc, ?bbjglcq/rfpmsef2 }}}}}}}}}}}}}}}}}}}}}}} z                                3               67*050,
    QcargmlGG+?bhsqrcbR_v_`jcGlamkc

                                                                          R_v_`jcGlamkc

       4      R_v_`jcglamkc, Qccglqrpsargmlq }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                           4        +1*451*.61,

                                     ?bbgrgmlq &_bhsqrkclrqrm`ck_bcgd_kmslrq_pcr_iclglrm_aamslrmljglc4'

       5      ?lwgrckmdjmqqmpbcbsargmlrf_rgqlmrnpmncpjw_jjma_`jcrm_
              rp_bcmp`sqglcqqmdrfcr_vn_wcp,Qccglqrpsargmlq    ||||||||||||                 5
       6      ?lw`sqglcqqglrcpcqrcvnclqclmrdpmk_n_qq+rfpmsefclrgrw,Qcc
              glqrpsargmlq       |||||||||||||||||||||||||||||||                                  6          67*050,
       7      ?kmslrmd_lwlcrmncp_rglejmqqbcbsargmlslbcpqcargml/50        ||||||          7
     /.       ?kmslrmd_lwos_jgdgcb`sqglcqqglamkcbcbsargml_jjmucbslbcp
              qcargml/77? |||||||||||||||||||||||||||||||                                       /.
     //       Bcbsargml_jjmu_`jcdmpbcnpcag_rgml*_kmprgx_rgml*mpbcnjcrgml_rrpg`sr_`jc
              rm_rp_bcmp`sqglcqq,Qccglqrpsargmlq ||||||||||||||||||                        //
     /0       ?kmslrmd_lwjmqqmpbcbsargmlgrckqdpmk_n_qq+rfpmsefclrgrw,
              Qccglqrpsargmlq |||||||||||||||||||||||||||||                                     /0       1*224*.12,
     /1       Mrfcp_bbgrgmlq,Qccglqrpsargmlq |||||||||||||||||||||                            /1
     /2       Rmr_jasppclrwc_pn_prlcp%qcvacqqr_v_`jcglamkc&Qafcbsjc?*jglc
              22*amjskl&d'' ||||||||||||||||||||||||||||||                                     /2                    4,
     /3       Rmr_jasppclrwc_pQampnmp_rgmlqf_pcfmjbcp%qcvacqqr_v_`jc
              glamkc&Qafcbsjc@*jglc24*amjskl&a'' ||||||||||||||||| /3
     /4       Rmr_j,?bbjglcq5rfpmsef/3 }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} z                                            /4         1*313*1/0,

                                     Pcbsargmlq &_bhsqrkclrqrm`ck_bcgd_kmslrq_pcr_iclglrm_aamslrmljglc4'

     /5       ?lwgrckmdglamkcmpe_glrf_rgqlmrnpmncpjw_jjma_`jcrm_rp_bc
              mp`sqglcqqmdrfcr_vn_wcp,Qccglqrpsargmlq |||||||||||||||                      /5 &                      '
     /6       ?lw`sqglcqqglrcpcqrglamkclmrdpmk_n_qq+rfpmsefclrgrw,Qccglqrpsargmlq      /6 &                      '
     /7       ?kmslrmd_lwglamkcmpe_glgrckqdpmk_n_qq+rfpmsefclrgrw,
              Qccglqrpsargmlq |||||||||||||||||||||||||||||                                     /7 &        34*164,'
     0.       Mrfcppcbsargmlq,Qccglqrpsargmlq   ||||||||||||||||||||                          0. &                      '
     0/       Rmr_j,Amk`glcjglcq/5rfpmsef0. |||||||||||||||||||||||||||||||||| z                                          0/ &            34*164,'
     00       ?bhsqrcbr_v_`jcglamkc, Amk`glcjglcq4*/4*_lb0/,&Gdxcpmmpjcqq*clrcp+.+,' }}}}}}}}}}} z               00
    JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccrfcglqrpsargmlq,                                                                   Dmpk677. &Pct,3+0.0.'


    .010//.4+07+0.
                                          /1
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
                Case 21-19749-JKS                 Doc 1      Filed 12/21/21 Entered 12/21/21 06:51:07                                   Desc Main
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    Dmpk677.&Pct,3+0.0.'                                                                                                                               N_ec0

    QcargmlGGG+@sqglcqqGlrcpcqrGlamkc
     01      Asppclrwc_p`sqglcqqglrcpcqrglamkc,Qccglqrpsargmlq ||||||||||                  01
     02      Cvacqq`sqglcqqglrcpcqrglamkcdpmkn_qq+rfpmsefclrgrgcq&rmr_jmd
             Qafcbsjc?*jglc22*amjskl&e'*_lbQafcbsjc@*jglc24*amjskl&b'' ||||          02
     03      Rmr_j,?bbjglcq01_lb02 }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} z                                                   03

    QcargmlGT+Qcargml/41&h'Jgkgr_rgmlA_jasj_rgmlq

                                                          Jgkgr_rgmlml@sqglcqqGlrcpcqrCvnclqc

     04      Ksjrgnjw_bhsqrcbr_v_`jcglamkc&jglc00'`wrfc_nnjga_`jcncpaclr_ec,Qcc
             glqrpsargmlq ||||||||||||||||||||||||||||||||                                       04
     05      @sqglcqqglrcpcqrglamkc&jglc03' |||||||||||||||||||||                            05
     06      Djmmpnj_ldgl_lagleglrcpcqrcvnclqc&jglc2' ||||||||||||||||                     06
     07      Rmr_j,?bbjglcq04*05*_lb06 }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} z                                                07

                                                            ?jjmu_`jc@sqglcqqGlrcpcqrCvnclqc

     1.      Rmr_jasppclrwc_p`sqglcqqglrcpcqrcvnclqcbcbsargml, Qccglqrpsargmlq }}}}}}}}}}}}}}}}                            1.            026*213,

                                                                          A_ppwdmpu_pb

     1/      Bgq_jjmucb`sqglcqqglrcpcqrcvnclqc, Qs`rp_arjglc07dpmkjglc3,&Gdxcpmmpjcqq*clrcp+.+,' }}}}}}}            1/              67*050,
     N_prGG      N_prlcpqfgnN_qq+RfpmsefGrckq
     J[lnCCcmihfs]igjf_n_^\s[j[lnh_lmbcjnb[ncmmo\d_]nnim_]ncih+0-"d#(Nb_j[lnh_lmbcjcn_gm\_fiq[l_[ffi][n_^ninb_j[lnh_lm
     [h^[l_hin][llc_^`ilq[l^\snb_j[lnh_lmbcj(M__nb_chmnlo]ncihm`ilgil_ch`ilg[ncih(

                                                              Cvacqq@sqglcqqGlrcpcqrCvnclqc

     10      Cvacqq`sqglcqqglrcpcqrcvnclqc, Clrcp_kmslrdpmkjglc1/ }}}}}}}}}}}}}}}}}}}}}}                                   10              67*050,

                                   CvacqqR_v_`jcGlamkc &Gdwmsclrcpcb_l_kmslrmljglc10*qignjglcq11rfpmsef15,'

     11      Qs`rp_arrfcqskmdjglcq2_lb03dpmkjglc3,&Gdxcpmmpjcqq*clrcp+.+,' ||||||||||||||||||                      11
     12      Qs`rp_arjglc11dpmkjglc04,&Gdxcpmmpjcqq*clrcp+.+,' |||||||||||||||||||||||||||                              12
     13      Bgtgbcjglc12`wjglc04,Clrcprfcpcqsjr_q_bcagk_j,&Gdjglc04gqxcpm*clrcp+.+,' |||||||||||||              13
     14      Cvacqqr_v_`jcglamkc, Ksjrgnjwjglc13`wjglc00 }}}}}}}}}}}}}}}}}}}}}}}}}}}}                                      14

                                                              Cvacqq@sqglcqqGlrcpcqrGlamkc

     15      Cvacqq`sqglcqqglrcpcqrglamkc, Qs`rp_arrfcqskmdjglcq/*0*_lb1dpmkjglc03,&Gdxcpmmp
             jcqq*clrcp+.+,' }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                                      15
     N_prGGG QAmpnmp_rgmlN_qq+RfpmsefGrckq
     J[lnCCCcmihfs]igjf_n_^\sM]iljil[ncihmnb[n[l_mo\d_]nnim_]ncih+0-"d#(Nb_M]iljil[ncihcn_gm\_fiq[l_[ffi][n_^ninb_mb[l_bif^_lm(
     M__nb_chmnlo]ncihm`ilgil_ch`ilg[ncih(

                                                                    CvacqqR_v_`jcGlamkc

     16      Qs`rp_arrfcqskmdjglcq2_lb03dpmkjglc3,&Gdxcpmmpjcqq*clrcp+.+,' ||||||||||||||||||                      16
     17      Qs`rp_arjglc16dpmkjglc04,&Gdxcpmmpjcqq*clrcp+.+,' |||||||||||||||||||||||||||                              17
     2.      Bgtgbcjglc17`wjglc04,Clrcprfcpcqsjr_q_bcagk_j,&Gdjglc04gqxcpm*clrcp+.+,' |||||||||||||              2.
     2/      Cvacqqr_v_`jcglamkc, Ksjrgnjwjglc2.`wjglc00 }}}}}}}}}}}}}}}}}}}}}}}}}}}}                                      2/

                                                              Cvacqq@sqglcqqGlrcpcqrGlamkc

     20      Cvacqq`sqglcqqglrcpcqrglamkc, Qs`rp_arrfcqskmdjglcq/*0*_lb1dpmkjglc03,&Gdxcpmmp
             jcqq*clrcp+.+,' }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                                      20
                                                                                                                                        Dmpk677. &Pct,3+0.0.'




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Dmpk677.&Pct,3+0.0.'                                                                                                                                                                                                          N_ec1
 QAFCBSJC?                Qskk_pwmdN_prlcp%qQcargml/41&h'CvacqqGrckq
 ;hsn[rj[s_lnb[niqhm[hchn_l_mnch[j[lnh_lmbcjmo\d_]nnim_]ncih+0-"d#mbiof^]igjf_n_M]b_^of_;\_`il_]igjf_nchaJ[lnC(
                                                                                  Cvacqq@sqglcqqGlrcpcqrCvnclqc                         &d' Asppclrwc_p      &e' Asppclrwc_p     &f' Cvacqq`sqglcqq         &g'Asppclrwc_p
           &_' L_kcmdn_prlcpqfgn                  &`' CGL      &a' Asppclr               &b' Npgmp               &c' Rmr_j                cvacqq           cvacqq`sqglcqq     glrcpcqrcvnclqcrpc_rcb   cvacqq`sqglcqqglrcpcqr
                                                                                                                                                                                         _qn_gbmp_aapscb       cvnclqca_ppwdmpu_pb
                                                                        wc_p             wc_pa_ppwdmpu_pb           &&a'njsq&b''        r_v_`jcglamkc          glrcpcqrglamkc
                                                                                                                                                                                          &qccglqrpsargmlq'          &&c'kglsq&f''
         ?JJG?LRRCAFLMJMEGCQ*JJA
 21                       00+1475361                               430*473,                026*212,               7./*/07,                                .,                     .,                      .,          7./*/07,
         ?JJG?LRU?PC*JJA
                          00+1475367                                              .,                    .,                            .,                  4,                     .,                      .,                         .,
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 22      Rmr_j }}}}}}}}}}} z                                                                             4,             .,                                                                               .,
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 QAFCBSJC@              Qskk_pwmdQAmpnmp_rgmlQf_pcfmjbcp%qCvacqqR_v_`jcGlamkc_lbCvacqq@sqglcqqGlrcpcqrGlamkc
 ;hsn[rj[s_lnb[ncml_kocl_^ni]igjf_n_J[lnC[h^cm[mb[l_bif^_lch[hM]iljil[ncihnb[nb[m_r]_mmn[r[\f_ch]ig_il_r]_mm\omch_mmchn_l_mnch]ig_mbiof^]igjf_n_M]b_^of_<
 \_`il_]igjf_nchaJ[lnC(

                                      &_' L_kcmdQampnmp_rgml                                             &`' CGL                          &a' Asppclrwc_pcvacqq                         &b' Asppclrwc_pcvacqq
                                                                                                                                                     r_v_`jcglamkc                            `sqglcqqglrcpcqrglamkc


 23
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 24      Rmr_j }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} z                                                                                                                          .,                                                   .,
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                            Document     Page 38 of 180
Qcargml/,041&_'+/&d'BcKglgkgqQ_dcF_p`mpCjcargml
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RCAFLMJMEWICGPCRQS*JJA
14.Kr,Ick`jc?tclsc
KMPPGQRMUL*LH.574.
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CknjmwcpGbclrgdga_rgmlLsk`cp800+15.6571
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
DmprfcWc_pClbgleBcack`cp1/*0.0.
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RCAFLMJMEWICGPCRQS*JJAgqk_iglerfcbckglgkgqq_dcf_p`mp
cjcargmlslbcpPce,Qca,/,041&_'+/&d',
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         Case 21-19749-JKS   Doc 1
                                 Filed 12/21/21 Entered 12/21/21 06:51:07 Desc Main
                               Document      Page 39 of 180
   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   @CEGLLGLEMDR?VWC?PA?NGR?J                                        3*1./*...,
   @MMIJMQQDMPR?VWC?P                                              +2*3.1*.2/,
   A?NGR?JAMLRPG@SRCB                                                     14*111,
   QWLBGA?RGMLAMQRQ                                                      +16*...,
   NPMDGRQGLRCPCQR?U?PBQ                                                 1/*...,
   PMSLBGLE                                                                  +070,
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   CLBGLEA?NGR?JMLQAFCBSJCJ                                           605*...,


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   ?JJG?LRRCAFLMJMEGCQ*JJA
   14.KMSLRICK@JC?TC
   KMPPGQRMUL*LH.574.4440                            00+1475361       +026*213,
   ?JJG?LRRCAFLMJMEGCQ*JJA
   14.KMSLRICK@JC?TC
   KMPPGQRMUL*LH.574.4440                            00+1475361     +/*320*473,
   ?JJG?LRRCAFLMJMEGCQ*JJA
   14.KMSLRICK@JC?TC
   KMPPGQRMUL*LH.574.4440                            00+1475361         31*477,
   ?JJG?LRU?PC*JJA
   14.KRICK@JC?TC
   KMPPGQRMUL*LH.574.                                00+1475367              3,
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   KMPPGQRMUL*LH.574.                                25+1506440     +/*677*117,
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   RMR?JRMDMPK/.43*JGLC2                                         +1*414*543,
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   3.#MDRFC0./7C@GCA?PPWDMPU?PB+?JJG?LRRCAFLMJMEGCQ*JJA         026*213,
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   RMR?JGLAJSBCBMLDMPK/.43*N?EC/*JGLC2                           026*213,
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   AMLRPG@SRGMLQ+?JJG?LRRCAFLMJMEGCQ*JJA A?QF&4.#'                    2*...,
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   CVACQQ@SQGLCQQGLRCPCQRCVNCLQC                                       67*050,
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   LMLBCBSARG@JCCVNCLQCDPMKN?QQRFPMSEF                                  7*105,
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   RMR?JRMQAFCBSJCI*JGLC/6A                                           7*105,
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   QCARGML/77?+MPBGL?PWGLAMKC&JMQQ'                              +1*45/*543,
   QCARGML/77?U+0U?ECQ                                              5*631*/55,
   QCARGML/77?SL?BHSQRCB@?QGQMD?QQCRQ                            /0*013*264,

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   BSCDPMKCKNJMWCCQ                                      /0*...,        0/*...,
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   RMR?JRMQAFCBSJCJ*JGLC4                            20/*...,       437*...,
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   MRFCP                                                   51*...,       /65*...,
   QCASPGRWBCNMQGRQ                                       52*...,        35*...,
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   RMR?JRMQAFCBSJCJ*JGLC/1                           /25*...,       022*...,
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   A?NGR?JJC?QCM@JGE?RGML+QR                        /*2.6*...,     /*432*...,
   BCDCPPCBPCTCLSC                                       12.*...,       135*...,
   JGLCMDAPCBGR                                       0*63.*...,     0*43.*...,
   N-P?LBMRFCP?AAPSCBCVNCLQCQ                       /*//4*...,     /*450*...,
   NNNJM?L                                                     .,     /*600*...,
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   RMR?JRMQAFCBSJCJ*JGLC/5                         3*5/2*...,     6*/33*...,
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   A?NGR?JJC?QCM@JGE?RGML+JR                        /*.42*...,     /*467*...,
   AMLTCPRG@JCLMRCQN?W?@JC                                    .,     2*...*...,
   BCDCPPCBGLAMKC+AGR                                0*/2/*...,     /*706*...,
   BCDCPPCBPCLR                                          1.7*...,       131*...,
   JC?QCGLACLRGTC                                        01/*...,       /36*...,
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         2      +/46*064,                           .,                   +/46*064,


         6      +/56*5.3,                           .,                   +/56*5.3,


         7    +3*204*.11,                           .,                 +3*204*.11,


        /4      +/.3*227,                           .,                   +/.3*227,


        /5      +/.0*377,                           .,                   +/.0*377,


        0.       +21*.1.,                           .,                    +21*.1.,


        00    +/*6.1*.27,                           .,                 +/*6.1*.27,


        02         +4*047,                          .,                     +4*047,


        03             +3,                          .,                         +3,


        04      +007*553,                           .,                   +007*553,


        05       +65*636,                           .,                    +65*636,


        06       +//*210,                           .,                    +//*210,


        1.       +//*212,                           .,                    +//*212,


        1/       +//*211,                           .,                    +//*211,


        11       +/4*566,                           .,                    +/4*566,


        12         +2*121,                          .,                     +2*121,


        13       +12*62.,                           .,                    +12*62.,




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        15        +5*422,                          .,                     +5*422,


        16       +/2*425,                              .,                 +/2*425,


        17       0/0*.72,                       +//5*006,                  72*644,


        2.       226*/46,                       +025*577,                 0..*147,


        2/       /12*231,                        +52*12/,                  4.*//0,


        20       /57*047,                        +77*//7,                  6.*/3.,


        21         67*410,                       +27*34.,                  2.*.50,


        22         /2*.65,                        +5*555,                   4*1/.,


        23         3/*64/,                       +06*446,                  01*/71,


        24         +3*.62,                             .,                  +3*.62,


        25         67*410,                       +27*34/,                  2.*.5/,


        26         67*414,                       +27*336,                  2.*.56,


        27         01*31.,                       +/0*777,                  /.*31/,


        3.              .,                             .,                       .,


        3/              .,                             .,                       .,


        30              .,                             .,                       .,


        31              .,                             .,                       .,


        32     1*./4*/65,            /7*005,   +/*146*.34,              /*445*136,


        33     1*170*217,            /5*/.4,   +/*314*22.,              /*651*/.3,


        34       014*.52,                       +/1.*354,                 /.3*276,




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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   RMR?J        +07/*42/,       14*111,   +1*55/*460,                 +2*.04*77.,
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   AMKNCLQ?RGML                       1/*.05,                +1/*.05,           .,
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   CVNCLQC                                 .,     67*050,          .,     67*050,
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   GLRCPCQRCVNCLQC                   67*050,    +67*050,          .,           .,
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   RMR?JRMN?PRGGG*JGLC2          67*050,    +67*050,          .,           .,
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&Dmpk/.43'
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
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  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
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  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


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  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
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  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /15+4.+3755                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  H?W@PCLL?L
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  KMPPGQNJ?GLQ*LH.573.
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  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
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                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         /,475752. #                               /,475.757 #
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      A_ngr_j        /,475752. #                               /,475.757 #
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      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
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  E?PWDGLICJ
  6RPCCTGCUAGPAJC                                                                                            5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
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            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
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  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
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      Jmqq           /,7.54673 #                               /,7.45.30 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        /,7.54673 #                               /,7.45.30 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                  +/56*5.3,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                              +/56*5.3,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                      6
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          06                      N?PRLCPLSK@CP6
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       7    Case 21-19749-JKS                        Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
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  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
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  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /10+30+5214                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  @PSACDJGRAPMDR
  01RGLEJCWPM?B                                                                                              5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
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                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
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  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         00,4066.03 #                               00,4/5/054 #
      Jmqq           00,4066.03 #                               00,4/5/054 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        00,4066.03 #                               00,4/5/054 #
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      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                              +3*204*.11,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          1.                      N?PRLCPLSK@CP7
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
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Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
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   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
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  /.2+34+4//.                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  B?LFM
  /QJ?ICNJ                                                                                                  5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  RSVCBMN?PI*LW/.765+2/./
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,733.373 #                               .,7323445 #
      Jmqq           .,733.373 #                               .,7323445 #                             // Mrfcpglamkc&jmqq'
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      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
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      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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      Clbglea_ngr_j_aamslr     ||||||||||| "
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    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          10                     N?PRLCPLSK@CP/4
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  00+1054514                                                                                               4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  RCAFQWQ*GLA,A-MK?PIP??@
  NM@MV1/4/                                                                                                  5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  LCURML*LH.564.
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    AMPNMP?RGML
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,7/112.4 #                               .,7/06471 #
      Jmqq           .,7/112.4 #                               .,7/06471 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,7/112.4 #                               .,7/06471 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                  +/.0*377,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                              +/.0*377,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    /5
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                                 Filed 12/21/21 Entered 12/21/21 06:51:07 Desc Main
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          12                     N?PRLCPLSK@CP/5
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       0. Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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                                                                                                                                                                                                

QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /26+36+2401                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  CT?LKMPCRXQIW
  /3?JBC@?P?LBPGTC                                                                                           5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  P?LBMJNF*LH.5647
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,3404/5. #                               .,3401046 #
      Jmqq           .,3404/5. #                               .,3401046 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,3404/5. #                               .,3401046 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +21*.1.,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                 +21*.1.,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    0.
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          14                     N?PRLCPLSK@CP0.
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /23+06+5061                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  A?PJCPGLE*HP
  3//PGBECUMMB?TCLSC                                                                                         5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  EJCLPGBEC*LH.5.06
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         04,32006/2 #                               04,3063651 #
      Jmqq           04,32006/2 #                               04,3063651 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        04,32006/2 #                               04,3063651 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                              +/*6.1*.27,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                          +/*6.1*.27,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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         Case 21-19749-JKS   Doc 1
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          16                     N?PRLCPLSK@CP00
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       02 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
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Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
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  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
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  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  .20+4.+035.                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  K?PIUCQRCLFGQCP
  2DMPPCQRPM?B                                                                                               5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  P?LBMJNF*LH.5647
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                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
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  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,.447/51 #                               .,.446606 #
      Jmqq           .,.447/51 #                               .,.446606 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,.447/51 #                               .,.446606 #
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  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                        +4*047,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          2.                     N?PRLCPLSK@CP02
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
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Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  00+456/..3                                                                                               4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
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  RFCHMFLC,PGLEGPPCTMA?@JCRPSQR
  3//PGBECUMMB?TCLSC                                                                                         5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  EJCLPGBEC*LH.5.06
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    RPSQR
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,31056/1 #                               .,3103.42 #
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      A_ngr_j        .,31056/1 #                               .,3103.42 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
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      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
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             QCCQR?RCKCLR
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      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
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                                                                                                            DmpGPQSqcMljw




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    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          20                     N?PRLCPLSK@CP03
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       04 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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&Dmpk/.43'
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
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  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
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  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /2/+42+/7/.                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  KGAF?CJDSLI
  24@WPML?TC                                                                                                 5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  KMPPGQRMUL*LH.574.
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         2,04003.1 #                               2,04..3/1 #
      Jmqq           2,04003.1 #                               2,04..3/1 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        2,04003.1 #                               2,04..3/1 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                  +007*553,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                              +007*553,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    04
         Case 21-19749-JKS   Doc 1
                                 Filed 12/21/21 Entered 12/21/21 06:51:07 Desc Main
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          22                     N?PRLCPLSK@CP04
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       05 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  ..2+3.+27/6                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  NFGJRMUJC
  1NGRRCLECPPM?B                                                                                             5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  RFPCC@PGBECQ*LH.6665
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         /,27/5654 #                               /,27/./57 #
      Jmqq           /,27/5654 #                               /,27/./57 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        /,27/5654 #                               /,27/./57 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +65*636,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                 +65*636,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    05
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          24                     N?PRLCPLSK@CP05
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       06 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /31+42+0.64                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  LMPK?ACPL?B?Q
  212L,K?PICRQR                                                                                             5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  DPCBCPGAI*KB0/5./
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,1/74466 #                               .,1/73.16 #
      Jmqq           .,1/74466 #                               .,1/73.16 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,1/74466 #                               .,1/73.16 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +//*210,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                 +//*210,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    06
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          26                     N?PRLCPLSK@CP06
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       1. Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  35.+76+61//                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  K?RRHMLQML
  07F?URFMPLCPM?B                                                                                            5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  UGLB?FK*LF.1.65
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
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  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,31056/1 #                               .,3103.42 #
      Jmqq           .,31056/1 #                               .,3103.42 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,31056/1 #                               .,3103.42 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +//*212,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          3.                     N?PRLCPLSK@CP1.
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /20+3.+5.07                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  QRCTCIMA?L
  212L,K?PICRQR                                                                                             5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  DPCBCPGAI*KB0/5./
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,1/74466 #                               .,1/73.16 #
      Jmqq           .,1/74466 #                               .,1/73.16 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,1/74466 #                               .,1/73.16 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +//*211,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          30                     N?PRLCPLSK@CP1/
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
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                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
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  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
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  QRCTCLRPCLI
  0/3C,46RFQRPCCR,?NR06A                                                                                   5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  LCUWMPI*LW/..43
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,2471411 #                               .,247/0// #
      Jmqq           .,2471411 #                               .,247/0// #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,2471411 #                               .,247/0// #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +/4*566,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                 +/4*566,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    11
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          32                     N?PRLCPLSK@CP11
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       12 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /62+3.+444/                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  JGLB?KAESGE?L
  74FGJJRMNPM?B                                                                                             5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  @?QIGLEPGBEC*LH.570.
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,/0/252/ #                               .,/0/2//3 #
      Jmqq           .,/0/252/ #                               .,/0/2//3 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,/0/252/ #                               .,/0/2//3 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                        +2*121,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    12
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          34                     N?PRLCPLSK@CP12
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  23+4/67567                                                                                               4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  RFCUCQRTGPEGLG?N?GLRRPSQR
  /6?JJCLBPGTC                                                                                               5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  U?WLC*LH.525.
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    RPSQR
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,752/0.1 #                               .,7514/55 #
      Jmqq           .,752/0.1 #                               .,7514/55 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,752/0.1 #                               .,7514/55 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
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                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +12*62.,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                 +12*62.,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          36                     N?PRLCPLSK@CP13
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       15 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  14/+44+6772                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  K?PAWDSLI
  24@WPML?TC                                                                                                 5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  KMPPGQRMUL*LH.574.+360.
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,0/14060 #                               .,0/13/6. #
      Jmqq           .,0/14060 #                               .,0/13/6. #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,0/14060 #                               .,0/13/6. #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                        +5*422,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                    +5*422,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    15
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                                 Filed 12/21/21 Entered 12/21/21 06:51:07 Desc Main
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          4.                     N?PRLCPLSK@CP15
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       16 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /32+5.+3365                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  P?TGQ?RRGP?HS
  3.QJ?W@?AIBP                                                                                               5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  NPGLACRMLHSLARGML*LH.633.+/7/0
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,2.721/6 #                               .,2.700.3 #
      Jmqq           .,2.721/6 #                               .,2.700.3 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,2.721/6 #                               .,2.700.3 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     +/2*425,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                 +/2*425,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    16
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          40                     N?PRLCPLSK@CP16
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       17 Case        21-19749-JKS                   Doc 1     Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                       +//2*/00,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'                                                                                                   61,
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  .4+/31756.                                                                                               4` Os_jgdgcbbgtgbclbq                                         lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,                                                                              A( 07.,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  ESGJDMGJCNCLQGMLNJ?L!../
  11/R?AMLGAPM?B                                                                                             5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  EPCCLUGAF*AR.461/
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'                       ?     61,
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8                                                                                               X    (QRKR
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp= CVCKNRMPE?LGX?RGML
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         /,.433446 #                               /,.43./5/ #
      Jmqq           /,.433446 #                               /,.43./5/ #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        /,.433446 #                               /,.43./5/ #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                      15*25., "                           3/1*744,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "                                      ?                            /02,
      Pcamspqc }}}} "                                   ., "                                     ., I                            0*553,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     0/0*.72,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                     0/                                            Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                              +//5*006, 00                                            Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   BCQAPGNRGMLN?PRLCPDGJGLEGLQRPSARGMLQ?KMSLR
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   LMLBCBSARG@JCCVNCLQCQ+        QCCGPQQAF,I+/GLQRPSARGMLQ
   N?QQRFPMSEF                                                                07.,
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   CGL800+1475361                                                              
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   MPBGL?PWGLAMKC&JMQQ'                                             +33*45.,
   U+0U?ECQ                                                          022*.63,
   SL?BHSQRCB@?QGQMD?QQCRQ                                         15.*264,
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   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                      
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   CGL800+1475367                                                              
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   PCBDMPECJJA                                                                
   CGL825+1506440                                                              
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   MPBGL?PWGLAMKC&JMQQ'                                             +37*.11,

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                                          42                     N?PRLCPLSK@CP17
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   RFCQCARGML/77??KMSLRQRM@CSQCBGLRFCA?JASJ?RGMLMDOS?JGDGCB@SQGLCQQ
   GLAMKCBCBSARGMLMLWMSP/.2.-/.2/PCRSPL?PCPCNMPRCBMLJGLC0.*SLBCPAMBC
   X,NJC?QCAMLQSJRWMSPR?V?BTGQMPPCE?PBGLERFCA?JASJ?RGMLMDRFCOS?JGDGCB
   @SQGLCQQGLAMKCBCBSARGML*GLAJSBGLERFCNMQQG@JC?EEPCE?RGMLQ?LBJGKGR?RGMLQ
   RF?RK?W?NNJW?LBRFCDGJGLEMDRFC/,/77?+2&A'&0'&G'?LLS?JBGQAJMQSPC
   QR?RCKCLR,

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   QAFCBSJCI+/ASPPCLRWC?PLCRGLAMKC&JMQQ'?LB         
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   MPBGL?PWGLAMKC&JMQQ'                           +//2*/00, 
   GLRCPCQRGLAMKC                                  61, 
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   AF?PGR?@JCAMLRPG@SRGMLQ                         +/02, 
   MRFCPBCBSARGMLQ                                 +0*553, 
   LMLBCBSARG@JCCVNCLQCQ                           +07., 
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   LCRGLAMKC&JMQQ'NCPQAFCBSJCI+/                             +//5*006,
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ
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   
   DMPR?VCVCKNRN?PRLCPQ*/..#MDRFCGLAMKC-JMQQPCNMPRCBML               
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   PCTCLSCAMBCQCARGML3/0,                                                  
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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                                 Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     ESGJDMGJCNCLQGMLNJ?L!../                                                                                                                                                .4+/31756.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+    1     ?argtgrw+    1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +5*500,            +25*727,            +33*45.,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                       61,
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                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
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    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
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    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                              /02,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
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    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
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    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
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    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                               022*.63,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                         15.*264,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
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                                                                                 Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     ESGJDMGJCNCLQGMLNJ?L!../                                                                                                                                                .4+/31756.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03               V      ?JJG?LRU?PC*JJA
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    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
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    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
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    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
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    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
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    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
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    Mrfcp?KRgrckq |||||||||||||||||||||||||||
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                                                                                  Qafcbsjcmd?argtgrgcq
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    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
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    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
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    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
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  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
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  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
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  C+DGJC                                                                                                       3 Glrcpcqrglamkc
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  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /13+30+0/55                                                                                              4` Os_jgdgcbbgtgbclbq                                         lmlbcbsarg`jccvnclqcq

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             QCCQR?RCKCLR
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   MPBGL?PWGLAMKC&JMQQ'                                            +//5*455,
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   RFCQCARGML/77??KMSLRQRM@CSQCBGLRFCA?JASJ?RGMLMDOS?JGDGCB@SQGLCQQ
   GLAMKCBCBSARGMLMLWMSP/.2.-/.2/PCRSPL?PCPCNMPRCBMLJGLC0.*SLBCPAMBC
   X,NJC?QCAMLQSJRWMSPR?V?BTGQMPPCE?PBGLERFCA?JASJ?RGMLMDRFCOS?JGDGCB
   @SQGLCQQGLAMKCBCBSARGML*GLAJSBGLERFCNMQQG@JC?EEPCE?RGMLQ?LBJGKGR?RGMLQ
   RF?RK?W?NNJW?LBRFCDGJGLEMDRFC/,/77?+2&A'&0'&G'?LLS?JBGQAJMQSPC
   QR?RCKCLR,

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   MPBGL?PWGLAMKC&JMQQ'                           +02/*013, 
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   CVNCLQC

   ?N?PRLCPFMJBGLE?AMLTCPRG@JCLMRC&JCLBGLEN?PRLCP'
   GQQSCB@WRCAFLMJMEWICGPCRQS*JJA&@MPPMUGLEN?PRLCPQFGN'
   GQPCOSGPCBRMPCAMELGXCMPGEGL?JGQQSCBGQAMSLR&MGB'*?
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   DMPKMDGLRCPCQRGLAMKC,UFCL?JCLBGLEN?PRLCPGQ
   ?JJMA?RCBCVACQQ@SQGLCQQGLRCPCQRCVNCLQC&C@GC'DPMKRFC
   @MPPMUGLEN?PRLCPQFGN?LBF?QGLRCPCQRGLAMKC?RRPG@SR?@JC
   RMRFCJM?L*PCDCPPCBRM?Q QCJD+AF?PECBGLRCPCQRGLAMKC *
   RFCJCLBGLEN?PRLCPGQBCCKCBRMPCACGTC?L?JJMA?RGMLMD
   CVACQQ@SQGLCQQGLRCPCQRGLAMKC&C@GG'DPMKRFC@MPPMUGLE
   N?PRLCPQFGNNSPQS?LRRMRPC?Q,PCE,QCARGML/,/41&H'+4&L',
   RFC?JJMA?RGMLMDCVACQQC@GGNMRCLRG?JJW?JJMUQRFCJCLBGLE
   N?PRLCPRMBCBSAR?JJMP?NMPRGMLMDRFC?JJMA?RCBC@GC
   DPMKRFCJCLBGLEN?PRLCPQFGN,


   RFC?KMSLRMDRFCJCLBGLEN?PRLCP%QBCCKCB?JJMA?RGMLMD
   C@GGGQRFCJCQQCPMDFGQMPFCP?JJMA?RGMLMDC@GCDPMKRFC
   @MPPMUGLEN?PRLCPQFGN*"3*643GLWMSPA?QC*MPRFCGLRCPCQR
   GLAMKC?RRPG@SR?@JCRMRFCQCJD+AF?PECBJCLBGLERP?LQ?ARGML*
   "2*1//*GLWMSPA?QC,RFCPCDMPC*WMSPBCCKCB?JJMA?RGMLMD
   C@GGGQ"2*1//,RFCPCK?GLGLEGLRCPCQRGLAMKCMD".
   AMLRGLSCQRM@CA?RCEMPGXCB?QGLTCQRKCLRGLAMKCRM?
   JCLBGLEN?PRLCP*MRFCPRF?L?AAMPNMP?RGMLMP?JCLBGLE
   N?PRLCPCLE?ECBGLRFCRP?BCMP@SQGLCQQMDJCLBGLE,

   RFC@SQGLCQQGLRCPCQRCVNCLQCJGKGR?RGMLPSJCQSLBCPGPA
   QCARGML/41&H'?PCAMKNJCV,NJC?QCAMLQSJRWMSPR?V
   ?BTGQMP,
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{

   0,QCJD+AF?PECBGLRCPCQRGLAMKC?LBN?QQGTC?ARGTGRWJMQQ
   JGKGR?RGML

   ?QLMRCBGL/?@MTC*?N?PRLCPFMJBGLE?AMLTCPRG@JCLMRC
   &JCLBGLEN?PRLCP'GQQSCB@WRCAFLMJMEWICGPCRQS*JJA
   &@MPPMUGLEN?PRLCPQFGN'GQPCOSGPCBRMPCAMELGXCMPGEGL?J
   GQQSCBGQAMSLR&MGB'*?DMPKMDGLRCPCQRGLAMKC,N?PRLCPQ
   UFMBMLMRK?RCPG?JJWN?PRGAGN?RC&?QBCDGLCBGLRCKN,
   RPC?Q,PCE,QCA,/,247+3R'GL?L?ARGTGRW?PCQS@HCARRMRFC
   N?QQGTCJMQQPSJCQMDGPAQCARGML247,?LWCVACQQ@SQGLCQQ
   GLRCPCQRCVNCLQC&C@GC'?JJMUCBSLBCPRFCQCJD+AF?PECB
   GLRCPCQRGLAMKCPSJCQSLBCPQCARGML/41&H'*BCQAPG@CBGL/
   ?@MTC*K?W@CJGKGRCB@WRFCN?QQGTCJMQQPSJCQ,RFC
   N?QQGTCJMQQPSJCQAMLR?GLRFCGPMULQCJD+AF?PECBGLRCPCQR
   GLAMKCPSJCQGLRPC?Q,PCE,QCARGML/,247+5,LMQNCAGDGA
   ESGB?LACF?Q@CCLGQQSCBRMB?RC?BBPCQQGLERFCGLRCP?ARGML
   @CRUCCLRFCQCARGML/41&H'@SQGLCQQGLRCPCQRCVNCLQC
   JGKGR?RGML?LBN?QQGTCJMQQPSJCQDMPQCJD+AF?PECBGLRCPCQR
   GLAMKC,NJC?QCAMLQSJRWMSPR?V?BTGQMPGDWMS?PCQS@HCAR
   RMRFCN?QQGTCJMQQPSJCQMLRFC?ARGTGRGCQMDRFGQ
   N?PRLCPQFGN,




                                          50                     N?PRLCPLSK@CP2.
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                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+   /7     ?argtgrw+   1     ?argtgrw+   1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +/4*100,          +/./*133,          +//5*455,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                    /55,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
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    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                   /55,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
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                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                         561*/22,
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    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     HGJJ?F?L?S                                                                                                                                                               /13+30+0/55
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03               V      ?JJG?LRU?PC*JJA
                                                          ?argtgrw+ //     ?argtgrw+ //     ?argtgrw+ 03
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             1*306,            1*306,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
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    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
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   MPBGL?PWGLAMKC&JMQQ'                           +50*15/, 
   GLRCPCQRGLAMKC                                  30, 
                                                   {{{{{{{{{{{{{{ 
   QAFCBSJCI+/GLAMKCQS@RMR?J                              +50*1/7,
                                                                 
   AF?PGR?@JCAMLRPG@SRGMLQ                         +57, 
   MRFCPBCBSARGMLQ                                 +/*537, 
   LMLBCBSARG@JCCVNCLQCQ                           +/62, 
                                                   {{{{{{{{{{{{{{ 
   QAFCBSJCI+/BCBSARGMLQQS@RMR?J                          +0*.00,
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   LCRGLAMKC&JMQQ'NCPQAFCBSJCI+/                             +52*12/,
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ   
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ
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                                          56                     N?PRLCPLSK@CP2/
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     F?PMJBQ?LBQRPMK                                                                                                                                                           .36+1.+/.1.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+    1     ?argtgrw+    1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +2*674,            +1.*2.4,            +13*1.2,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                       30,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                                 57,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                      30,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                               /32*564,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                         012*722,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     F?PMJBQ?LBQRPMK                                                                                                                                                           .36+1.+/.1.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03                      ?JJG?LRU?PC*JJA
                                                          ?argtgrw+ //     ?argtgrw+ //     ?argtgrw+ 03
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             /*.36,            /*.36,               /,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                           4*0/6,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           F?PMJBQ?LBQRPMK                                                                                                                                                      .36+1.+/.1.
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                 Ambc(
      Bcqapgnrgml             03                                       V                   ?JJG?LRU?PC*JJA
              md               5                                                           PCBDMPECJJA
           ?argtgrw            5                                       V                   PCBDMPECJJA
                                                                                                 ?argtgrw+ 03                                   ?argtgrw+      5     ?argtgrw+    5
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                                 /,                   +15*214,            +15*214,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
                               +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                      +Sl_bhsqrcb`_qgqmd_qqcrq         |||||||||||||||                                                              /,
                      +PCGRbgtgbclbq |||||||||||||||||||||
                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                      +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.         /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                         +74*272,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'                                                                                                   5/,
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /13+10+/623                                                                                              4` Os_jgdgcbbgtgbclbq                                         lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,                                                                              A( 023,
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  NCRCPC@CLLCRR
  0203ILCAFR@PGBECPB                                                                                        5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  PGCECJQTGJJC*N?/6.55
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'                       ?     5/,
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8                                                                                               X    (QRKR
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
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                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,3461.07 #                               .,346..75 #
      Jmqq           .,3461.07 #                               .,346..75 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,3461.07 #                               .,346..75 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
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      Lmlpcamspqc }}} "                      1/*460, "                           212*353,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "                                      ?                            /.3,
      Pcamspqc }}}} "                                   ., "                                     ., I                            0*124,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
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             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                     /57*047,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                       0/                                          Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                 +77*//7, 00                                          Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
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      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                      QafcbsjcI+/&Dmpk/.43'0.0.
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   LMLBCBSARG@JCCVNCLQCQ+        QCCGPQQAF,I+/GLQRPSARGMLQ
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   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                      
   ?R+MPBGL?PW@SQGLCQQ?ARGTGRW                                               
   CGL800+1475361                                                              
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   MPBGL?PWGLAMKC&JMQQ'                                             +25*.5.,
   U+0U?ECQ                                                          0.4*160,
   SL?BHSQRCB@?QGQMD?QQCRQ                                         1/1*036,
                                                                               
   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                      
   ?U+MPBGL?PW@SQGLCQQ?ARGTGRW                                              
   CGL800+1475361                                                              
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   SL?BHSQRCB@?QGQMD?QQCRQ                                           6*067,
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   CGL800+1475367                                                              
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   CGL825+1506440                                                              
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   MPBGL?PWGLAMKC&JMQQ'                                             +27*7/3,

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                                          61                     N?PRLCPLSK@CP20
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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   RFCQCARGML/77??KMSLRQRM@CSQCBGLRFCA?JASJ?RGMLMDOS?JGDGCB@SQGLCQQ
   GLAMKCBCBSARGMLMLWMSP/.2.-/.2/PCRSPL?PCPCNMPRCBMLJGLC0.*SLBCPAMBC
   X,NJC?QCAMLQSJRWMSPR?V?BTGQMPPCE?PBGLERFCA?JASJ?RGMLMDRFCOS?JGDGCB
   @SQGLCQQGLAMKCBCBSARGML*GLAJSBGLERFCNMQQG@JC?EEPCE?RGMLQ?LBJGKGR?RGMLQ
   RF?RK?W?NNJW?LBRFCDGJGLEMDRFC/,/77?+2&A'&0'&G'?LLS?JBGQAJMQSPC
   QR?RCKCLR,

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   QAFCBSJCI+/ASPPCLRWC?PLCRGLAMKC&JMQQ'?LB         
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   BCQAPGNRGML?KMSLRRMR?JQ
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   MPBGL?PWGLAMKC&JMQQ'                           +74*272, 
   GLRCPCQRGLAMKC                                  5/, 
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   QAFCBSJCI+/GLAMKCQS@RMR?J                              +74*201,
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   AF?PGR?@JCAMLRPG@SRGMLQ                         +/.3, 
   MRFCPBCBSARGMLQ                                 +0*124, 
   LMLBCBSARG@JCCVNCLQCQ                           +023, 
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   QAFCBSJCI+/BCBSARGMLQQS@RMR?J                          +0*474,
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   LCRGLAMKC&JMQQ'NCPQAFCBSJCI+/                             +77*//7,
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ
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                                          62                     N?PRLCPLSK@CP20
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     NCRCPC@CLLCRR                                                                                                                                                            /13+10+/623
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+    1     ?argtgrw+    1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +4*307,            +2.*320,            +25*.5.,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                       5/,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
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    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
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    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
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    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
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    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
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                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     NCRCPC@CLLCRR                                                                                                                                                            /13+10+/623
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03               V      ?JJG?LRU?PC*JJA
                                                          ?argtgrw+ //     ?argtgrw+ //     ?argtgrw+ 03
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             /*2/0,            /*2/0,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
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    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
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                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           NCRCPC@CLLCRR                                                                                                                                                       /13+10+/623
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml               5                                                          PCBDMPECJJA
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    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
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    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
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    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
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                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
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                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                         +26*025,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
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  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'                                                                                                   13,
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  .12+16+1/5.                                                                                              4` Os_jgdgcbbgtgbclbq                                         lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,                                                                              A( /00,
  N?SJAAP?GERPSQR                                                                                       4a Bgtgbclbcosgt_jclrq
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  LCUWMPI*LW/..01
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  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                         @cegllgle                                 Clbgle                                  /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,062/335 #                               .,062..7/ #
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      A_ngr_j        .,062/335 #                               .,062..7/ #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
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      Lmlpcamspqc }}} "                    /3*613, "                             0/5*065,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
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      Pcamspqc }}}} "                                  ., "                                      ., I                            /*/51,
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  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
            QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                        67*410,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                       0/                                          Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                 +27*34., 00                                          Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
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   BCQAPGNRGMLN?PRLCPDGJGLEGLQRPSARGMLQ?KMSLR
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   LMLBCBSARG@JCCVNCLQCQ+        QCCGPQQAF,I+/GLQRPSARGMLQ
   N?QQRFPMSEF                                                                /00,
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   QAFCBSJCI+/QCARGML/77?GLDMPK?RGML*@MV0.*AMBCX      
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   
   BCQAPGNRGML?KMSLR
   {{{{{{{{{{{{{{{{{{{{{{{{{
                                                                                
   RP?BCMP@SQGLCQQ+                                                          
                                                                                
   MPBGL?PWGLAMKC&JMQQ'                                                +24.,
                                                                                
   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                       
   ?R+MPBGL?PW@SQGLCQQ?ARGTGRW                                                
   CGL800+1475361                                                               
                                                                                
   MPBGL?PWGLAMKC&JMQQ'                                             +01*314,
   U+0U?ECQ                                                          /.1*/7/,
   SL?BHSQRCB@?QGQMD?QQCRQ                                         /34*407,
                                                                                
   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                       
   ?U+MPBGL?PW@SQGLCQQ?ARGTGRW                                               
   CGL800+1475361                                                               
                                                                                
   MPBGL?PWGLAMKC&JMQQ'                                                  5.3,
   SL?BHSQRCB@?QGQMD?QQCRQ                                           2*/23,
                                                                                
   N?QQRFPMSEF+PCBDMPECJJA                                                   
   PCBDMPECJJA                                                                 
   CGL825+1506440                                                               
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   MPBGL?PWGLAMKC&JMQQ'                                             +02*735,

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                                          67                     N?PRLCPLSK@CP21
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   RFCQCARGML/77??KMSLRQRM@CSQCBGLRFCA?JASJ?RGMLMDOS?JGDGCB@SQGLCQQ
   GLAMKCBCBSARGMLMLWMSP/.2.-/.2/PCRSPL?PCPCNMPRCBMLJGLC0.*SLBCPAMBC
   X,NJC?QCAMLQSJRWMSPR?V?BTGQMPPCE?PBGLERFCA?JASJ?RGMLMDRFCOS?JGDGCB
   @SQGLCQQGLAMKCBCBSARGML*GLAJSBGLERFCNMQQG@JC?EEPCE?RGMLQ?LBJGKGR?RGMLQ
   RF?RK?W?NNJW?LBRFCDGJGLEMDRFC/,/77?+2&A'&0'&G'?LLS?JBGQAJMQSPC
   QR?RCKCLR,

   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/ASPPCLRWC?PLCRGLAMKC&JMQQ'?LB         
   MRFCPGLAPC?QCQ&BCAPC?QCQ'
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   BCQAPGNRGML?KMSLRRMR?JQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
   MPBGL?PWGLAMKC&JMQQ'                           +26*025, 
   GLRCPCQRGLAMKC                                  13, 
                                                   {{{{{{{{{{{{{{ 
   QAFCBSJCI+/GLAMKCQS@RMR?J                              +26*0/0,
                                                                 
   AF?PGR?@JCAMLRPG@SRGMLQ                         +31, 
   MRFCPBCBSARGMLQ                                 +/*/51, 
   LMLBCBSARG@JCCVNCLQCQ                           +/00, 
                                                   {{{{{{{{{{{{{{ 
   QAFCBSJCI+/BCBSARGMLQQS@RMR?J                          +/*126,
                                                                 {{{{{{{{{{{{{{
   LCRGLAMKC&JMQQ'NCPQAFCBSJCI+/                             +27*34.,
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ   
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ
    

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                                          7.                     N?PRLCPLSK@CP21
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     N?SJAAP?GERPSQRA-MN?SJAAP?GE                                                                                                                                        .12+16+1/5.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+    1     ?argtgrw+    1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +1*043,            +0.*05/,            +01*314,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                       13,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                                 31,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                      13,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                               /.1*/7/,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                         /34*407,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

                                          7/                                    21
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     N?SJAAP?GERPSQRA-MN?SJAAP?GE                                                                                                                                        .12+16+1/5.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw             5                      PCBDMPECJJA
                                                          ?argtgrw+ //      ?argtgrw+ //      ?argtgrw+    5
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                5.3,               5.3,            +02*735,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                           2*/23,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           N?SJAAP?GERPSQRA-MN?SJAAP?GE                                                                                                                                   .12+16+1/5.
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                 Ambc(
      Bcqapgnrgml               5                                      V                   PCBDMPECJJA
              md
           ?argtgrw

                                                                                                           ?argtgrw+      5     ?argtgrw+                                            ?argtgrw+
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                +02*735,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
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    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                                   6,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
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    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                        4,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                                  /4*/71,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                            02*357,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     UGJJG?KKIC?PLQ*HP                                                                                                                                                       /33+04+.5/0
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw             5                      PCBDMPECJJA
                                                          ?argtgrw+ //      ?argtgrw+ //      ?argtgrw+   5
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                ///,               ///,            +1*7/4,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                               43/,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           UGJJG?KKIC?PLQ*HP                                                                                                                                                  /33+04+.5/0
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml               5                                      V                   PCBDMPECJJA
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    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                   +1*7/4,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
                               +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
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    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                      +Sl_bhsqrcb`_qgqmd_qqcrq         |||||||||||||||
                      +PCGRbgtgbclbq |||||||||||||||||||||
                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                         +05*7.7,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'                                                                                                   0.,
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  ../+10+76/.                                                                                              4` Os_jgdgcbbgtgbclbq                                         lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,                                                                              A( 5/,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  UGJJG?KQJC?P
  /..C,@CJJCTSCNJ?AC*?NR04B                                                                               5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  AFGA?EM*GJ4.4//
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
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      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,0051007 #                               .,0050.34 #
      Jmqq           .,0051007 #                               .,0050.34 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,0051007 #                               .,0050.34 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
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      Pcamspqc }}}} "                                   ., "                                     ., I                            456,
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  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                        3/*64/,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                       0/                                          Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                 +06*446, 00                                          Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
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  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   QAFCBSJCI+/LMLBCBSARG@JCCVNCLQCQ*@MV/6*AMBCA
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   BCQAPGNRGMLN?PRLCPDGJGLEGLQRPSARGMLQ?KMSLR
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   LMLBCBSARG@JCCVNCLQCQ+        QCCGPQQAF,I+/GLQRPSARGMLQ
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   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                       
   ?R+MPBGL?PW@SQGLCQQ?ARGTGRW                                                
   CGL800+1475361                                                               
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   MPBGL?PWGLAMKC&JMQQ'                                             +/1*4/3,
   U+0U?ECQ                                                           37*470,
   SL?BHSQRCB@?QGQMD?QQCRQ                                          7.*4.2,
                                                                                
   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                       
   ?U+MPBGL?PW@SQGLCQQ?ARGTGRW                                               
   CGL800+1475361                                                               
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   MPBGL?PWGLAMKC&JMQQ'                                                  2.6,
   SL?BHSQRCB@?QGQMD?QQCRQ                                           0*175,
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   N?QQRFPMSEF+PCBDMPECJJA                                                   
   PCBDMPECJJA                                                                 
   CGL825+1506440                                                               
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   MPBGL?PWGLAMKC&JMQQ'                                             +/2*215,

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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   RFCQCARGML/77??KMSLRQRM@CSQCBGLRFCA?JASJ?RGMLMDOS?JGDGCB@SQGLCQQ
   GLAMKCBCBSARGMLMLWMSP/.2.-/.2/PCRSPL?PCPCNMPRCBMLJGLC0.*SLBCPAMBC
   X,NJC?QCAMLQSJRWMSPR?V?BTGQMPPCE?PBGLERFCA?JASJ?RGMLMDRFCOS?JGDGCB
   @SQGLCQQGLAMKCBCBSARGML*GLAJSBGLERFCNMQQG@JC?EEPCE?RGMLQ?LBJGKGR?RGMLQ
   RF?RK?W?NNJW?LBRFCDGJGLEMDRFC/,/77?+2&A'&0'&G'?LLS?JBGQAJMQSPC
   QR?RCKCLR,

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   QAFCBSJCI+/ASPPCLRWC?PLCRGLAMKC&JMQQ'?LB         
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   BCQAPGNRGML?KMSLRRMR?JQ
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   MPBGL?PWGLAMKC&JMQQ'                           +05*7.7, 
   GLRCPCQRGLAMKC                                  0., 
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   QAFCBSJCI+/GLAMKCQS@RMR?J                              +05*667,
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   AF?PGR?@JCAMLRPG@SRGMLQ                         +1., 
   MRFCPBCBSARGMLQ                                 +456, 
   LMLBCBSARG@JCCVNCLQCQ                           +5/, 
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   LCRGLAMKC&JMQQ'NCPQAFCBSJCI+/                             +06*446,
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ   
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ
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                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     UGJJG?KQJC?P                                                                                                                                                             ../+10+76/.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+    1     ?argtgrw+    1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +/*666,            +//*504,            +/1*4/3,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                       0.,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                                 1.,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                      0.,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                                  37*470,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                            7.*4.2,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
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    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     UGJJG?KQJC?P                                                                                                                                                             ../+10+76/.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw             5                      PCBDMPECJJA
                                                          ?argtgrw+ //      ?argtgrw+ //      ?argtgrw+    5
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                2.6,               2.6,            +/2*215,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
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    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                           0*175,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

                                          /.2                                   23
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                    Case                                         Doc 1 Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           UGJJG?KQJC?P                                                                                                                                                        ../+10+76/.
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                 Ambc(
      Bcqapgnrgml               5                                      V                   PCBDMPECJJA
              md
           ?argtgrw

                                                                                                           ?argtgrw+      5     ?argtgrw+                                            ?argtgrw+
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                +/2*215,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
                               +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
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    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                      +Sl_bhsqrcb`_qgqmd_qqcrq         |||||||||||||||
                      +PCGRbgtgbclbq |||||||||||||||||||||
                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                      +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.         /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

                                          /.3                                   23
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
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                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  05/+20+/61/                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  F?PJCW@I?NJ?L
  /1/.DGMPCBP                                                                                                5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  J?ICDMPCQR*GJ4..23
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,/20.557 #                               .,/20..23 #
      Jmqq           .,/20.557 #                               .,/20..23 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,/20.557 #                               .,/20..23 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
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                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                        +3*.62,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                 0/                                Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                 ., 00                                Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                    +3*.62,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    24
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          /.5                    N?PRLCPLSK@CP24
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
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                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                         +26*025,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
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  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
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  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  307+36+3602                                                                                              4` Os_jgdgcbbgtgbclbq                                         lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,                                                                              A( /01,
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  I?WJRMMJQML
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            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
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  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8                                                                                               X    (QRKR
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,062/335 #                               .,062..7/ #
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      A_ngr_j        .,062/335 #                               .,062..7/ #
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  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                      /3*613, "                           0/5*065,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "                                      ?                            31,
      Pcamspqc }}}} "                                   ., "                                     ., I                            /*/51,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "                                        67*410,
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                       0/                                          Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                 +27*34/, 00                                          Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                      QafcbsjcI+/&Dmpk/.43'0.0.
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   QAFCBSJCI+/LMLBCBSARG@JCCVNCLQCQ*@MV/6*AMBCA
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   BCQAPGNRGMLN?PRLCPDGJGLEGLQRPSARGMLQ?KMSLR
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   LMLBCBSARG@JCCVNCLQCQ+        QCCGPQQAF,I+/GLQRPSARGMLQ
   N?QQRFPMSEF                                                                /01,
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   RMR?JRMQAFCBSJCI+/*@MV/6*AMBCA                                      /01,
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   MPBGL?PWGLAMKC&JMQQ'                                                +24.,
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   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                       
   ?R+MPBGL?PW@SQGLCQQ?ARGTGRW                                                
   CGL800+1475361                                                               
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   MPBGL?PWGLAMKC&JMQQ'                                             +01*313,
   U+0U?ECQ                                                          /.1*/7/,
   SL?BHSQRCB@?QGQMD?QQCRQ                                         /34*406,
                                                                                
   N?QQRFPMSEF+?JJG?LRRCAFLMJMEGCQ*JJA                                       
   ?U+MPBGL?PW@SQGLCQQ?ARGTGRW                                               
   CGL800+1475361                                                               
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   MPBGL?PWGLAMKC&JMQQ'                                                  5.4,
   SL?BHSQRCB@?QGQMD?QQCRQ                                           2*/23,
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   CGL800+1475367                                                               
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   N?QQRFPMSEF+PCBDMPECJJA                                                   
   PCBDMPECJJA                                                                 
   CGL825+1506440                                                               
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   MPBGL?PWGLAMKC&JMQQ'                                             +02*735,

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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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   RFCQCARGML/77??KMSLRQRM@CSQCBGLRFCA?JASJ?RGMLMDOS?JGDGCB@SQGLCQQ
   GLAMKCBCBSARGMLMLWMSP/.2.-/.2/PCRSPL?PCPCNMPRCBMLJGLC0.*SLBCPAMBC
   X,NJC?QCAMLQSJRWMSPR?V?BTGQMPPCE?PBGLERFCA?JASJ?RGMLMDRFCOS?JGDGCB
   @SQGLCQQGLAMKCBCBSARGML*GLAJSBGLERFCNMQQG@JC?EEPCE?RGMLQ?LBJGKGR?RGMLQ
   RF?RK?W?NNJW?LBRFCDGJGLEMDRFC/,/77?+2&A'&0'&G'?LLS?JBGQAJMQSPC
   QR?RCKCLR,

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   QAFCBSJCI+/ASPPCLRWC?PLCRGLAMKC&JMQQ'?LB         
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   BCQAPGNRGML?KMSLRRMR?JQ
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   MPBGL?PWGLAMKC&JMQQ'                           +26*025, 
   GLRCPCQRGLAMKC                                  13, 
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   QAFCBSJCI+/GLAMKCQS@RMR?J                              +26*0/0,
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   AF?PGR?@JCAMLRPG@SRGMLQ                         +31, 
   MRFCPBCBSARGMLQ                                 +/*/51, 
   LMLBCBSARG@JCCVNCLQCQ                           +/01, 
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   LCRGLAMKC&JMQQ'NCPQAFCBSJCI+/                             +27*34/,
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ
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                                          //.                    N?PRLCPLSK@CP25
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     I?WJRMMJQML                                                                                                                                                              307+36+3602
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+    1     ?argtgrw+    1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +1*043,            +0.*05/,            +01*313,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                       13,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                                 31,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
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    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                      13,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
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                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
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                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     I?WJRMMJQML                                                                                                                                                              307+36+3602
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03               V      ?JJG?LRU?PC*JJA
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    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                5.4,               5.4,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
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   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ   
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ
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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     PGAF?PB?PMSQC                                                                                                                                                            327+5.+030/
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
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      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+    1     ?argtgrw+    1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +1*042,            +0.*05/,            +01*313,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                       14,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                                 30,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                      14,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                               /.1*/7.,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                         /34*407,
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                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     PGAF?PB?PMSQC                                                                                                                                                            327+5.+030/
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw             5                      PCBDMPECJJA
                                                          ?argtgrw+ //      ?argtgrw+ //      ?argtgrw+    5
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                5.3,               5.3,            +02*736,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                           2*/23,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

                                          //6                                   26
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           PGAF?PB?PMSQC                                                                                                                                                       327+5.+030/
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                 Ambc(
      Bcqapgnrgml               5                                      V                   PCBDMPECJJA
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                                                                                                           ?argtgrw+      5     ?argtgrw+                                            ?argtgrw+
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                +02*736,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
                               +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                      +Sl_bhsqrcb`_qgqmd_qqcrq         |||||||||||||||
                      +PCGRbgtgbclbq |||||||||||||||||||||
                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                      +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.         /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                         +/0*431,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
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  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,                                                                              A( 11,
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  LCURMUL*N?/672.
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  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
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   CGL800+1475361                                                               
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   SL?BHSQRCB@?QGQMD?QQCRQ                                          2/*.55,
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   RFCQCARGML/77??KMSLRQRM@CSQCBGLRFCA?JASJ?RGMLMDOS?JGDGCB@SQGLCQQ
   GLAMKCBCBSARGMLMLWMSP/.2.-/.2/PCRSPL?PCPCNMPRCBMLJGLC0.*SLBCPAMBC
   X,NJC?QCAMLQSJRWMSPR?V?BTGQMPPCE?PBGLERFCA?JASJ?RGMLMDRFCOS?JGDGCB
   @SQGLCQQGLAMKCBCBSARGML*GLAJSBGLERFCNMQQG@JC?EEPCE?RGMLQ?LBJGKGR?RGMLQ
   RF?RK?W?NNJW?LBRFCDGJGLEMDRFC/,/77?+2&A'&0'&G'?LLS?JBGQAJMQSPC
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   MPBGL?PWGLAMKC&JMQQ'                           +/0*431, 
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                                                                         Qafcbsjcmd?argtgrgcq
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    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     QFGPJCWQ?JRXK?L                                                                                                                                                           /73+16+5141
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+ /7     ?argtgrw+   1     ?argtgrw+   1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||              +634,            +3*1/4,            +4*/51,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                         7,
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                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
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    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
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    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
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    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
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    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
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    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     QFGPJCWQ?JRXK?L                                                                                                                                                           /73+16+5141
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      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw             5                      PCBDMPECJJA
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    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                /63,               /63,            +4*323,
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                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
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    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
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    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           QFGPJCWQ?JRXK?L                                                                                                                                                      /73+16+5141
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      Bcqapgnrgml               5                                      V                   PCBDMPECJJA
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                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
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                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
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    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
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    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
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    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
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Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
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  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
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  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /3.+24+331/                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  AMPP?BMBCJPMQQM
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  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
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      Npmdgr         .,1/74466 #                               .,1/73.16 #
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  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
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      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




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                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
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Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
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  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
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  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /32+3.+.65.                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  BMSENJ?AC
  /NMJMAJS@PB                                                                                               5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  D?PFGJJQ*LH.571/+0252
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,31056/1 #                               .,3103.42 #
      Jmqq           .,31056/1 #                               .,3103.42 #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,31056/1 #                               .,3103.42 #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                        0/                         Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                           00                         Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                                 .,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    3/
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          /07                    N?PRLCPLSK@CP3/
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                                                                                                                                                

QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /36+10+.637                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  FMU?PB?LBCPQML
  1..@MWJQRMLQRPCCR*SLGR4.1                                                                                5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  @MQRML*K?.0//4
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,204003. #                               .,204..3/ #
      Jmqq           .,204003. #                               .,204..3/ #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,204003. #                               .,204..3/ #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                        0/                         Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                           00                         Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                                 .,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    30
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
   ||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||||
   QAFCBSJCI+/GRCKJ,N?PRLCP%QA?NGR?J?AAMSLR?L?JWQGQ
   {{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{{
    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          /1/                    N?PRLCPLSK@CP30
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
       31 Case        21-19749-JKS                   Doc 1 Filed 12/21/21 Entered 12/21/21 06:51:07                                                                           Desc Main
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  .64+26+061.                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  PML?JBHQRP?SQQ
  631P?K?NMU?W                                                                                               5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  UCQRDGCJB*LH.5.7.+16//
  E  Eclcp_jn_prlcpmpJJA V Jgkgrcbn_prlcpmpmrfcpJJA
                                                                                                              6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,033513. #                               .,0334.1/ #
      Jmqq           .,033513. #                               .,0334.1/ #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,033513. #                               .,0334.1/ #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                        0/                         Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                           00                         Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
                                                                                                 .,
                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    31
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   GQQSCBGQAMSLR&MGB'*?DMPKMDGLRCPCQRGLAMKC,N?PRLCPQ
   UFMBMLMRK?RCPG?JJWN?PRGAGN?RC&?QBCDGLCBGLRCKN,
   RPC?Q,PCE,QCA,/,247+3R'GL?L?ARGTGRW?PCQS@HCARRMRFC
   N?QQGTCJMQQPSJCQMDGPAQCARGML247,?LWCVACQQ@SQGLCQQ
   GLRCPCQRCVNCLQC&C@GC'?JJMUCBSLBCPRFCQCJD+AF?PECB
   GLRCPCQRGLAMKCPSJCQSLBCPQCARGML/41&H'*BCQAPG@CBGL/
   ?@MTC*K?W@CJGKGRCB@WRFCN?QQGTCJMQQPSJCQ,RFC
   N?QQGTCJMQQPSJCQAMLR?GLRFCGPMULQCJD+AF?PECBGLRCPCQR
   GLAMKCPSJCQGLRPC?Q,PCE,QCARGML/,247+5,LMQNCAGDGA
   ESGB?LACF?Q@CCLGQQSCBRMB?RC?BBPCQQGLERFCGLRCP?ARGML
   @CRUCCLRFCQCARGML/41&H'@SQGLCQQGLRCPCQRCVNCLQC
   JGKGR?RGML?LBN?QQGTCJMQQPSJCQDMPQCJD+AF?PECBGLRCPCQR
   GLAMKC,NJC?QCAMLQSJRWMSPR?V?BTGQMPGDWMS?PCQS@HCAR
   RMRFCN?QQGTCJMQQPSJCQMLRFC?ARGTGRGCQMDRFGQ
   N?PRLCPQFGN,




                                          /15                    N?PRLCPLSK@CP32
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     LQEGTSL@JMAICB?GT*J,N,                                                                                                                                                 60+011.2.3
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+   /7     ?argtgrw+   1     ?argtgrw+   1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             +7.*//0,          +337*342,          +427*453,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                                    751,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                        /*23/,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                   751,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                         0*626*267,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                   2*101*4.0,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     LQEGTSL@JMAICB?GT*J,N,                                                                                                                                                 60+011.2.3
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03                      ?JJG?LRU?PC*JJA
                                                          ?argtgrw+  //     ?argtgrw+  //     ?argtgrw+ 03
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             /7*256,            /7*256,               0,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                   //2*2/6,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           LQEGTSL@JMAICB?GT*J,N,                                                                                                                                            60+011.2.3
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                 Ambc(
      Bcqapgnrgml             03                                       V                   ?JJG?LRU?PC*JJA
              md               5                                                           PCBDMPECJJA
           ?argtgrw            5                                       V                   PCBDMPECJJA
                                                                                                 ?argtgrw+ 03                                   ?argtgrw+    5     ?argtgrw+   5
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                                 0,                +466*702,          +466*702,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
                               +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                      +Sl_bhsqrcb`_qgqmd_qqcrq         |||||||||||||||                                                            /0,
                      +PCGRbgtgbclbq |||||||||||||||||||||
                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                      +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.         /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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Bcn_prkclrmdrfcRpc_qspw
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                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
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   LMLBCBSARG@JCCVNCLQCQ+        QCCGPQQAF,I+/GLQRPSARGMLQ
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   MPBGL?PWGLAMKC&JMQQ'                           +/*273*515, 
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   GQQSCB@WRCAFLMJMEWICGPCRQS*JJA&@MPPMUGLEN?PRLCPQFGN'
   GQPCOSGPCBRMPCAMELGXCMPGEGL?JGQQSCBGQAMSLR&MGB'*?
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   DMPKMDGLRCPCQRGLAMKC,UFCL?JCLBGLEN?PRLCPGQ
   ?JJMA?RCBCVACQQ@SQGLCQQGLRCPCQRCVNCLQC&C@GC'DPMKRFC
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   RMRFCJM?L*PCDCPPCBRM?Q QCJD+AF?PECBGLRCPCQRGLAMKC *
   RFCJCLBGLEN?PRLCPGQBCCKCBRMPCACGTC?L?JJMA?RGMLMD
   CVACQQ@SQGLCQQGLRCPCQRGLAMKC&C@GG'DPMKRFC@MPPMUGLE
   N?PRLCPQFGNNSPQS?LRRMRPC?Q,PCE,QCARGML/,/41&H'+4&L',
   RFC?JJMA?RGMLMDCVACQQC@GGNMRCLRG?JJW?JJMUQRFCJCLBGLE
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   @MPPMUGLEN?PRLCPQFGN*"14*144GLWMSPA?QC*MPRFCGLRCPCQR
   GLAMKC?RRPG@SR?@JCRMRFCQCJD+AF?PECBJCLBGLERP?LQ?ARGML*
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   GQQSCBGQAMSLR&MGB'*?DMPKMDGLRCPCQRGLAMKC,N?PRLCPQ
   UFMBMLMRK?RCPG?JJWN?PRGAGN?RC&?QBCDGLCBGLRCKN,
   RPC?Q,PCE,QCA,/,247+3R'GL?L?ARGTGRW?PCQS@HCARRMRFC
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                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     LQEGTQS@QGBG?PW?GT*J,N,                                                                                                                                                60+021273.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           /7                      ?JJG?LRRCAFLMJMEGCQ*JJA+?JJG?LRRCAFLMJM
          md                 1                      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
        ?argtgrw             1               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?R+MPBGL?PW@SQ
                                                          ?argtgrw+  /7     ?argtgrw+   1     ?argtgrw+   1
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||           +/./*0.1,          +406*213,          +507*416,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||                                                                              /*.70,
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                        /*41.,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                             /*.70,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                         1*/77*.64,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                   2*633*536,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

                                          /23                                   33
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                Case                                            Doc 1 Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     LQEGTQS@QGBG?PW?GT*J,N,                                                                                                                                                60+021273.
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03                      ?JJG?LRU?PC*JJA
                                                          ?argtgrw+  //     ?argtgrw+  //     ?argtgrw+ 03
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             0/*653,            0/*653,               0,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                   /06*3..,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                    Case                                         Doc 1 Filed 12/21/21 Entered 12/21/21 06:51:07                                                                       Desc Main
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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           LQEGTQS@QGBG?PW?GT*J,N,                                                                                                                                           60+021273.
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                 Ambc(
      Bcqapgnrgml             03                                       V                   ?JJG?LRU?PC*JJA
              md               5                                                           PCBDMPECJJA
           ?argtgrw            5                                       V                   PCBDMPECJJA
                                                                                                 ?argtgrw+ 03                                   ?argtgrw+    5     ?argtgrw+   5
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                                 0,                +551*5/7,          +551*5/7,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
                               +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                      +Sl_bhsqrcb`_qgqmd_qqcrq         |||||||||||||||                                                            /1,
                      +PCGRbgtgbclbq |||||||||||||||||||||
                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                      +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.         /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                       +/05*//5,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'                                                                                                   71,
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
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   JGLC/GQSLPCJ?RCBRP?BCMP@SQGLCQQGLAMKCSLBCPGLRCPL?J
   PCTCLSCAMBCQCARGML3/0,


   N?PRLCPQFMJBGLEAMLTCPRG@JCLMRCQ

   QCJD+AF?PECBGLRCPCQRGLAMKCDPMKJCLBGLERP?LQ?ARGMLQ
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   GQQSCB@WRCAFLMJMEWICGPCRQS*JJA&@MPPMUGLEN?PRLCPQFGN'
   GQPCOSGPCBRMPCAMELGXCMPGEGL?JGQQSCBGQAMSLR&MGB'*?
   DMPKMDGLRCPCQRGLAMKC,UFCL?JCLBGLEN?PRLCPGQ
   ?JJMA?RCBCVACQQ@SQGLCQQGLRCPCQRCVNCLQC&C@GC'DPMKRFC
   @MPPMUGLEN?PRLCPQFGN?LBF?QGLRCPCQRGLAMKC?RRPG@SR?@JC
   RMRFCJM?L*PCDCPPCBRM?Q QCJD+AF?PECBGLRCPCQRGLAMKC *
   RFCJCLBGLEN?PRLCPGQBCCKCBRMPCACGTC?L?JJMA?RGMLMD
   CVACQQ@SQGLCQQGLRCPCQRGLAMKC&C@GG'DPMKRFC@MPPMUGLE
   N?PRLCPQFGNNSPQS?LRRMRPC?Q,PCE,QCARGML/,/41&H'+4&L',
   RFC?JJMA?RGMLMDCVACQQC@GGNMRCLRG?JJW?JJMUQRFCJCLBGLE
   N?PRLCPRMBCBSAR?JJMP?NMPRGMLMDRFC?JJMA?RCBC@GC
   DPMKRFCJCLBGLEN?PRLCPQFGN,


   RFC?KMSLRMDRFCJCLBGLEN?PRLCP%QBCCKCB?JJMA?RGMLMD
   C@GGGQRFCJCQQCPMDFGQMPFCP?JJMA?RGMLMDC@GCDPMKRFC
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   GLAMKC?RRPG@SR?@JCRMRFCQCJD+AF?PECBJCLBGLERP?LQ?ARGML*
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   AMLRGLSCQRM@CA?RCEMPGXCB?QGLTCQRKCLRGLAMKCRM?
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   &JCLBGLEN?PRLCP'GQQSCB@WRCAFLMJMEWICGPCRQS*JJA
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   GQQSCBGQAMSLR&MGB'*?DMPKMDGLRCPCQRGLAMKC,N?PRLCPQ
   UFMBMLMRK?RCPG?JJWN?PRGAGN?RC&?QBCDGLCBGLRCKN,
   RPC?Q,PCE,QCA,/,247+3R'GL?L?ARGTGRW?PCQS@HCARRMRFC
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   GLRCPCQRCVNCLQC&C@GC'?JJMUCBSLBCPRFCQCJD+AF?PECB
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   GLAMKCPSJCQGLRPC?Q,PCE,QCARGML/,247+5,LMQNCAGDGA
   ESGB?LACF?Q@CCLGQQSCBRMB?RC?BBPCQQGLERFCGLRCP?ARGML
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   GLAMKC,NJC?QCAMLQSJRWMSPR?V?BTGQMPGDWMS?PCQS@HCAR
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                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||                                                                              /16,
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||                                                                                      71,
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||                                                                                                                                               05/*655,
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                                                         2/0*45/,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                         Qafcbsjcmd?argtgrgcq
                                         Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8   RCAFLMJMEWICGPCRQS*JJA                                                                                                                                                   00+15.6571
    Dmp8     KGAF?CJESGJDMGJCGP?NJ?L                                                                                                                                                 04+/.20/13
                       ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                Ambc(
      Bcqapgnrgml           //                      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
          md                //               V      ?JJG?LRRCAFLMJMEGCQ*JJA+?U+MPBGL?PW@S
        ?argtgrw            03               V      ?JJG?LRU?PC*JJA
                                                          ?argtgrw+ //     ?argtgrw+ //     ?argtgrw+ 03
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||             /*637,            /*637,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc      ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml       ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq     |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
               +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq      |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq              ||||||||||
                              +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq               |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq               ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc              ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq             |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                    +Sl_bhsqrcb`_qgqmd_qqcrq          |||||||||||||||                                                                                      /.*70/,                                           /,
                    +PCGRbgtgbclbq |||||||||||||||||||||
                    +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                    +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
    .03../.2+./+0.        /+QglejcD_kgjwPcqgbclac0+Ksjrg+D_kgjwPcqgbclac1+T_a_rgmlmpQfmpr+RcpkPclr_j2+Amkkcpag_j3+J_lb4+Pmw_jrgcq5+Qcjd+Pclr_j6+Mrfcp

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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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                                                                          Qafcbsjcmd?argtgrgcq
                                          Dmpa_jclb_pwc_p0.0.*mpr_vwc_p`cegllgle                            *0.0.*_lbclbgle                             *              ,



    L_kc8         RCAFLMJMEWICGPCRQS*JJA                                                                                                                                              00+15.6571
    Dmp8           KGAF?CJESGJDMGJCGP?NJ?L                                                                                                                                            04+/.20/13
                        ?argtgrwLsk`cp     /..#Bgqnmqcb    NRN     N-R/77?    Rwnc        Bcqapgnrgml
                                                                                 Ambc(
      Bcqapgnrgml               5                                                          PCBDMPECJJA
              md                5                                      V                   PCBDMPECJJA
           ?argtgrw

                                                                                                           ?argtgrw+      5     ?argtgrw+    5     ?argtgrw+
    Mpbgl_pw`sqglcqqglamkc&jmqq' ||||||||||||||||||||                                                                +43*533,            +43*533,
    Lcrpclr_jpc_jcqr_rcglamkc&jmqq' |||||||||||||||||||
    Mrfcplcrpclr_jglamkc&jmqq' |||||||||||||||||||||
    Glrcpcqrglamkc |||||||||||||||||||||||||||
    Bgtgbclbq +Mpbgl_pwbgtgbclbq |||||||||||||||||||||
                    +Os_jgdgcbbgtgbclbq |||||||||||||||||||||
                    +Bgtgbclbcosgt_jclrq&/.43mljw'|||||||||||||||
    Pmw_jrgcq ||||||||||||||||||||||||||||||
    Lcrqfmpr+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
    Lcrjmle+rcpka_ngr_je_gl&jmqq' ||||||||||||||||||||
                    +Amjjcarg`jcq&06#'e_gl&jmqq' ||||||||||||||||
                    +Slpca_nrspcbQcargml/03.e_gl ||||||||||||||
    Lcrqcargml/01/e_gl&jmqq' ||||||||||||||||||||||
    Mrfcpnmprdmjgmglamkc       ||||||||||||||||||||||||
    Qcargml/034amlrp_arq_lbqrp_bbjcq ||||||||||||||||||
    Mrfcpglamkc       ||||||||||||||||||||||||||||
    Qcargml/57bcbsargml        ||||||||||||||||||||||||
    Af_pgr_`jcamlrpg`srgmlq ||||||||||||||||||||||||
    Nmprdmjgmbcbsargmlq      |||||||||||||||||||||||||
    Gltcqrkclrglrcpcqrcvnclqc ||||||||||||||||||||||
    Qcargml37&c'&0'cvnclbgrspcq |||||||||||||||||||||
    Cvacqq`sqglcqqglrcpcqrcvnclqc ||||||||||||||||||||
    Mrfcpbcbsargmlq |||||||||||||||||||||||||||
    Lcrc_plgleqdpmkqcjd+cknjmwkclr |||||||||||||||||||
    Epmqqd_pkglempdgqfgleglamkc ||||||||||||||||||||
    Epmqqlmld_pkglamkc ||||||||||||||||||||||||
    JGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq ||||||||||||||||
                   +Mrfcp |||||||||||||||||||||||||||
    Os_jgdgcbpcf_`gjgr_rgmlcvnclbgrspcqpcj_rcbrmpclr_jpc_jcqr_rc |||||||
    Mrfcppclr_japcbgrq ||||||||||||||||||||||||||
    Apcbgrqpcj_rcbrmmrfcppclr_j_argtgrgcq       |||||||||||||||||
    Pca_nrspcmdJGFapcbgr +Qcargml20&h'&3'n_prlcpqfgnq                ||||||||||
                               +Mrfcp |||||||||||||||||||||
    Mrfcpapcbgrq |||||||||||||||||||||||||||||
    Nmqr+/764bcnpcag_rgml_bhsqrkclr |||||||||||||||||||
    ?bhsqrcbe_glmpjmqq |||||||||||||||||||||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqfmpr+rcpke_gl-jmqq                |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmjmle+rcpke_gl-jmqq                 |||||||
    Nmprgmlmd_bhsqrcbe_gl-jmqq_jjma_`jcrmqcargml/01/e_gl-jmqq                ||||||
    Bcnjcrgml&mrfcprf_lmgj_lbe_q' ||||||||||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+epmqqglamkc               ||||||||||||
    Mgj*e_q_lbecmrfcpk_jnpmncprgcq+bcbsargmlq              |||||||||||||
    Mrfcp?KRgrckq |||||||||||||||||||||||||||
    Gltcqrkclrglamkc ||||||||||||||||||||||||||
    Gltcqrkclrcvnclqcq |||||||||||||||||||||||||
    Qcargml/77? +U+0u_ecq |||||||||||||||||||||||
                      +Sl_bhsqrcb`_qgqmd_qqcrq         |||||||||||||||
                      +PCGRbgtgbclbq |||||||||||||||||||||
                      +Ammncp_rgtcos_jgdgcb`sqglcqqglamkc |||||||||||
                      +Ammncp_rgtcU+0u_ecq }}}}}}}}}}}}}}}}}
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                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
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                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  143+72+41.6                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  B?LL?AGLMTGAF
  16JGQ?BPGTC                                                                                                5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
  AF?RF?K*LH.5706
  E  Eclcp_jn_prlcpmpJJA                           V
                                                                Jgkgrcbn_prlcpmpmrfcpJJA                  6 Lcrqfmpr+rcpka_ngr_je_gl&jmqq'
            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
    V Bmkcqrgan_prlcp
  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
      RGL                             L_kc                                                                 7` Amjjcarg`jcq&06#'e_gl&jmqq'
  G/ Uf_rrwncmdclrgrwgqrfgqn_prlcp=    GLBGTGBS?J
  G0 Gdrfgqn_prlcpgq_pcrgpckclrnj_l&GP?-QCN-Icmef-cra,'*afcaifcpc ||||                           7a Slpca_nrspcbqcargml/03.e_gl
  H N_prlcp%qqf_pcmdnpmdgr*jmqq*_lba_ngr_j8
                     @cegllgle                                        Clbgle                               /. Lcrqcargml/01/e_gl&jmqq'
      Npmdgr         .,204003. #                               .,....... #
      Jmqq           .,204003. #                               .,....... #                             // Mrfcpglamkc&jmqq'
      A_ngr_j        .,204003. #                               .,....... #
      Afcaigdbcapc_qcgqbscrmq_jcmpcvaf_lecmdn_prlcpqfgnglrcpcqr |||| 
  I N_prlcp%qqf_pcmdjg_`gjgrgcq8
                                         @cegllgle                             Clbgle                      /0 Qcargml/57bcbsargml
      Lmlpcamspqc }}} "                                 ., "                                     .,
      Os_jgdgcblmlpcamspqc                                                                                /1 Mrfcpbcbsargmlq
      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
  J                      N_prlcp%qA_ngr_j?aamslr?l_jwqgq                                                /2 Qcjd+cknjmwkclrc_plgleq&jmqq'
             QCCQR?RCKCLR
      @cegllglea_ngr_j_aamslr |||||||||| "
      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                        0/                         Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
      Asppclrwc_plcrglamkc&jmqq' ||||||||| "                                                           00                         Kmpcrf_lmlc_argtgrwdmpn_qqgtc_argtgrwnspnmqcq(
      Mrfcpglapc_qc&bcapc_qc'&_rr_afcvnj_l_rgml' || "                                                              (Qcc_rr_afcbqr_rckclrdmp_bbgrgml_jgldmpk_rgml,
      Ugrfbp_u_jq$bgqrpg`srgmlq |||||||||| " &                                                       '
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                                                                                                            DmpGPQSqcMljw




      Clbglea_ngr_j_aamslr     ||||||||||| "
  K Bgbrfcn_prlcpamlrpg`srcnpmncprwugrf_`sgjr+gle_glmpjmqq=
    Wcq            V Lm Gd Wcq* _rr_afqr_rckclr,Qccglqrpsargmlq,
  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
      @cegllgle ||||||||||||||||| "
      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
                                                                                                                                                                                                    35
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   RCAFLMJMEWICGPCRQS*JJA00+15.6571
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




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/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
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QafcbsjcI+/
&Dmpk/.43'
Bcn_prkclrmdrfcRpc_qspw
                                                                             0.0.
                                                                 Dmpa_jclb_pwc_p0.0.*mpr_vwc_p
                                                                                                            Dgl_jI+/       ?kclbcbI+/         MK@Lm,/323+./01
                                                                                                            N_prGGG N_prlcp%qQf_pcmdAsppclrWc_pGlamkc*
Glrcpl_jPctclscQcptgac                                                                                               Bcbsargmlq*Apcbgrq*_lbMrfcpGrckq
                         `cegllgle                               clbgle                                        / Mpbgl_pw`sqglcqqglamkc&jmqq'                      /3 Apcbgrq
N_prlcp%qQf_pcmdGlamkc*Bcbsargmlq*                                                                                                                          .,
Apcbgrq*cra,                          zQccqcn_p_rcglqrpsargmlq,                                            0               Lcrpclr_jpc_jcqr_rcglamkc&jmqq'
  N_prG Gldmpk_rgml?`msrrfcN_prlcpqfgn                                                                                                                            /4 Dmpcgelrp_lq_argmlq
  ? N_prlcpqfgn%qcknjmwcpgbclrgdga_rgmllsk`cp                                                               1 Mrfcplcrpclr_jglamkc&jmqq'
  00+15.6571
  @ N_prlcpqfgn%ql_kc*_bbpcqq*agrw*qr_rc*_lbXGNambc                                                 2_                  Es_p_lrccbn_wkclrqdmpqcptgacq


  RCAFLMJMEWICGPCRQS*JJA                                                                                 2` Es_p_lrccbn_wkclrqdmpa_ngr_j
  14.KR,ICK@JC?TCLSC
  KMPPGQRMUL*LH.574.                                                                                    2a Rmr_jes_p_lrccbn_wkclrq
  A GPQAclrcpufcpcn_prlcpqfgndgjcbpcrspl z                                                                                                                       /5 ?jrcpl_rgtckglr_v&?KR'grckq
  C+DGJC                                                                                                       3 Glrcpcqrglamkc
  B  Afcaigdrfgqgq_ns`jgajwrp_bcbn_prlcpqfgn&NRN'
   N_prGG Gldmpk_rgml?`msrrfcN_prlcp                                                                   4_ Mpbgl_pwbgtgbclbq
  C N_prlcp%qQQLmpRGL&BmlmrsqcRGLmd_bgqpce_pbcbclrgrw,Qccglqrpsargmlq,'                                                                                  /6 R_v+cvcknrglamkc_lb
  /16+40+2625                                                                                              4` Os_jgdgcbbgtgbclbq                                        lmlbcbsarg`jccvnclqcq

  D L_kc*_bbpcqq*agrw*qr_rc*_lbXGNambcdmpn_prlcpclrcpcbglC,Qccglqrpsargmlq,
                                                                                                           4a Bgtgbclbcosgt_jclrq
  K?PIA?LR?JSNNG
  1AF?K@CPQNJ?AC                                                                                             5 Pmw_jrgcq                                            /7 Bgqrpg`srgmlq
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            kck`cp+k_l_ecp                                       kck`cp                                                                                               0. Mrfcpgldmpk_rgml
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  F/                                                Dmpcgeln_prlcp                                      7_ Lcrjmle+rcpka_ngr_je_gl&jmqq'
  F0 Gdrfcn_prlcpgq_bgqpce_pbcbclrgrw&BC'*clrcprfcn_prlcp%q8
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      dgl_lagle }}}} "                                       "
      Pcamspqc }}}} "                                   ., "                                     .,
           Afcairfgq`mvgdGrckIglajsbcqjg_`gjgrw_kmslrqdpmkjmucprgcpn_prlcpqfgnq,
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      A_ngr_jamlrpg`srcbbspglerfcwc_p ||||||| "                                                        0/                         Kmpcrf_lmlc_argtgrwdmp_r+pgqinspnmqcq(
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  L     N_prlcp%qQf_pcmdLcrSlpcamelgxcbQcargml5.2&a'E_glmp&Jmqq'
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      Clbgle }}}}}}}}}}}}}}}}}}} "
.//04/./+.3+0/ JF? DmpN_ncpumpiPcbsargml?arLmrgac*qccGlqrpsargmlqdmpDmpk/.43,                                        uuu,gpq,emt-Dmpk/.43                     QafcbsjcI+/&Dmpk/.43'0.0.
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    @CEGLLGLEA?NGR?J?AAMSLRKCRFMBSQCB+R?V@?QGQ




                                          /36                    N?PRLCPLSK@CP36
/60/.7/1/112/3.0/..2..,...0.0.,.2.0.RCAFLMJMEWICGPCRQS*JJA.0/..2./
